 Case 8:23-ap-01046-SC          Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40         Desc
                                 Main Document    Page 1 of 42



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13                              UNITED STATES BANKRUPTCY COURT
14             OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.
15   In re                                          Bankruptcy Case No. 8:23-bk-10571-SC and in
                                                    Adversary Proceeding 8:23-ap-01046-SC
16   LITIGATION PRACTICE
     GROUP, PC                                      Chapter 11
17
                                    Debtor.
18                                                  JOINT STATEMENT OF MOVANT
     Richard A. Marshack, Chapter 11 Trustee        GREYSON LAW CENTER PC, AND OF
19                                                  RESPONDENT TRUSTEE, RICHARD A.
                   Plaintiff,                       MARSHACK, OF ISSUES FOR THIS COURT
20                                                  TO DECIDE RELATING TO GREYSON’S
     v.                                             MOTION TO VACATE--AS TO GREYSON--
21
                                                    THIS COURT’S 5/26/23 LOCKOUT AND
22   Tony Diab et al. (includes Greyson Law         PRELIMINARY INJUNCTION [DKT. 13]
     Center PC as a Defendant)                      AND THE 6/23/23 ORDER [DKT. 70] WHICH
23                                                  CONTINUED DKT. 13 IN EFFECT UNTIL
                   Defendants.                      THIS COURT RULES OTHERWISE
24

25                                                  Date: January 17, 20241/17/24
                                                    Time: 11:00 a.m.
26                                                  Judge: Hon. Scott Clarkson
                                                    Place: Via Zoom or In Person at:
27                                                         411 West Fourth Street, Courtroom 5C
                                                           Santa Ana, CA 92701-4593
28

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 Case 8:23-ap-01046-SC                 Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                                               Desc
                                        Main Document    Page 2 of 42
                                                  TABLE OF CONTENTS

                                                                                                                             Page
 1   I.     GREYSON MOVES THIS COURT TO VACATE—AS TO GREYSON—THE 5/26/23
            [DKT. 13] LOCKOUT AND PRELIMINARY INJUNCTION ORDER, BECAUSE
 2          GREYSON WAS NEVER AN ALTER EGO OF LPG, GREYSON IS A COMPETITOR OF
            LPG AND OF LPG ALTER EGOS SUCH AS PHOENIX, AND GREYSON NEEDS ITS
 3          SEIZED ITEMS TO OPERATE ...............................................................................................1
            A.         GREYSON’S POSITION RE THIS MOTION: ............................................................1
 4
            B.         GREYSON’S FRIVOLOUS MOTION FOR RECONSIDERATION OF THIS
 5                     COURT’S PRELIMINARY INJUNCTION -- AGREED TO BY GREYSON -- IS
                       NOT SUPPORTED BY THE LAW, ANY COMPETENT EVIDENCE AND IS
 6                     SANCTIONABLE. ........................................................................................................1
                       1.         Relevant Procedural History ............................................................................. 3
 7
                       2.         Relevant Provisions of the Court Ordered TRO and Stipulated Preliminary
 8                                Injunction .......................................................................................................... 8
                       3.         Greyson’s Frivolous Motion Is Not Raised On Any Cognizable Legal
 9                                Standard .......................................................................................................... 10
10                     4.         Continuing the Court’s Preliminary Injunction Is Necessary and Supported
                                  by the Facts ..................................................................................................... 10
11          C.         GREYSON’S FRIVOLOUS MOTION PROVIDES NO BASIS FOR
                       RECONSIDERATION OF THE PRELIMINARY INJUNCTION ............................11
12
            D.         THE EVIDENCE NECESSITATES THE PRELIMINARY INJUNCTION
13                     GREYSON STIPULATED TO AND IT’S CONTINUED ENFORCEMENT, AND
                       PERHAPS MODIFICATION TO FURTHER LIMIT GREYSON’S WRONGFUL
14                     INTERFERENCE WITH THE ESTATE ....................................................................12
                       1.         The Genesis of Greyson and the Scheme to Use LPG Funds to Steal Former
15                                LPG Clients, Proprietary Information and Trade Secrets ............................... 12
16                     2.         Greyson Was Funded with LPG Assets .......................................................... 15
                       3.         Greyson Stole LPG Proprietary Information, Trade Secrets and Co-mingled
17                                Accounts ......................................................................................................... 17
18   II.    MEET AND CONFER ORDERED BY THIS COURT’S 12/7/23 ORDER WAS HELD ON
            12/21/23, RE. GREYSON’S MOTION MOVING THE COURT TO VACATE—AS TO
19          GREYSON—THE 5/26/23 [DKT. 13] LOCKOUT AND PRELIMINARY INJUNCTION
            ORDER ....................................................................................................................................18
20          A.         GREYSON POSITION REGARDING 12/21/23 MEET AND CONFER IS THAT
                       CELENTINO FIRM “STONEWALLED” IN MEET & CONFER, AND
21                     STONEWALLED IN EMAILS AFTER MEET & CONFER ....................................18
22          B.         THE TRUSTEE’S POSITION RE MEET AND CONFER: ......................................24
     III.   GREYSON POSITION THAT GREYSON IS ENTITLED TO HAVE THIS COURT
23          ORDER THE CELENTINO FIRM (DINSMORE & SHOHL LLP) TO DO THE
            FOLLOWING 5 THINGS IMMEDIATELY: .........................................................................26
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                                                                                 2
 Case 8:23-ap-01046-SC                Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                                 Desc
                                       Main Document    Page 3 of 42


1          (1) ITEM ONE: Immediately Return to Greyson, Greyson’s 50 Computers
2    Seized By Celentino Firm at Greyson’s Offices on 6/2/23, which Computers had been
3    Purchased by Han Trinh, and by Greyson’s IT Director Justin Nguyen, with Their
     Personal Funds, and Which Celentino Firm Had And Has No Evidence Were
4
     Purchased By LPG, or Phoenix, or by Any Other Alter Ego of LPG.........................26
5          CELENTINO FIRM POSITION ON ITEM ONE............................................26
6
          (2) ITEM TWO: Immediately Return To Greyson, Greyson’s Microsoft
7
     Account Data and Documents, Including the One Drive Cloud Backup to Greyson’s
8    Microsoft Account, which Greyson Microsoft Account Han Trinh had Paid For
9    Monthly with Han’s Personal Credit Card...................................................................28
10        CELENTINO FIRM POSITION ON ITEM TWO............................................30

11          (3) ITEM THREE: Celentino Firm, By Celentino, Should Be Ordered To
12   Answer Under Penalty Of Perjury Whether Celentino Firm Still Has Greyson’s
13   Microsoft Account Data, or Whether Celentino Firm destroyed--Or Allowed To Be
     Destroyed--Greyson’s Microsoft Account Data, after Attorney Serrano Of Celentino
14
     Firm Locked Greyson Out Of Accessing Greyson’s Microsoft Account On 6/2/23
15   (and Soon As Nguyen Got Serrano Into That Account On 6/2/23), Despite Greyson’s
16   It Director, Justin Nguyen, Warning Serrano Of Celentino Firm, Who Locked
17   Greyson Out Of Accessing Greyson’s Microsoft Account, That Celentino Firm
     Would Have To Take Over Paying The Monthly Fees On That Greyson Microsoft
18
     Account, Because Greyson, Once Locked Out, Could No Longer Do So...................31
19          CELENTINO FIRM POSITION ON ITEM THREE........................................32
20
          (4) ITEM FOUR: Immediately Return to Greyson Greyson’s Domain and
21
     Website www.Greysonlawpc.Com on Godaddy.Com, which Was Paid For By
22   Greyson’s IT Director Nguyen From By His Personal Credit Card.............................32
23        CELENTINO FIRM POSITION ON ITEM FOUR..........................................33
24
            (5) ITEM FIVE: Immediately Return to Greyson, Greyson’s 100+ Email
25   Accounts, which Celentino Firm Locked Greyson Out Of Accessing From June 2023
26   to present.......................................................................................................................33
27          CELENTINO FIRM POSITION ON ITEM FIVE............................................34
28


                                                                    2a
   Case 8:23-ap-01046-SC                      Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                                           Desc
                                               Main Document    Page 4 of 42
                                                     TABLE OF AUTHORITIES

                                                                                                                                                   Page
 1 CASES

 2 Adidas Am., Inc. v. Payless Shoesource, Inc.
   540 F. Supp. 2d 1176 (D. Or. 2008) ...................................................................................................... 10
 3 Alto v. Black

 4 738 F.3d 1111 (9th Cir. 2013) ............................................................................................................... 10
   Credit Suisse First Boston Corp. v. Grunwald
 5 400 F.3d 1119 (9th Cir. 2005) ............................................................................................................... 10

 6 Karnoski v. Trump
   926 F.3d 1180 (9th Cir. 2019) ............................................................................................................... 10
 7
   Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co.
 8 571 F.3d 873 (9th Cir. 2009) ................................................................................................................. 10

 9 Sch. Dist. No. 1J, Multnomah Cnty., Or. v. ACandS, Inc.
   5 F.3d 1255 (9th Cir. 1993)). ..................................................................................................... 10, 11, 12
10 Sharp v. Weston

11 233 F.3d 1166 (9th Cir. 2000) 1170 ...................................................................................................... 10
   Winter v. Natural Res. Def. Council, Inc.
12 555 U.S. 7 (2008) ................................................................................................................................... 12

13 STATUTES

14 11 U.S.C. v.§ 101, et seq.......................................................................................................................... 3
   Federal Rule of Civil Procedure 59(e) ................................................................................................... 10
15

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  Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40             Desc
                                Main Document    Page 5 of 42


 1 I.    GREYSON MOVES THIS COURT TO VACATE—AS TO GREYSON—THE 5/26/23
         [DKT. 13] LOCKOUT AND PRELIMINARY INJUNCTION ORDER, BECAUSE
 2       GREYSON WAS NEVER AN ALTER EGO OF LPG, GREYSON IS A COMPETITOR OF
 3       LPG AND OF LPG ALTER EGOS SUCH AS PHOENIX, AND GREYSON NEEDS ITS
         SEIZED ITEMS TO OPERATE
 4

 5       A.      GREYSON’S POSITION RE THIS MOTION:
 6       Greyson moves this Court to vacate—as to Greyson—the Court’s 5/26/23 [Dkt. 13] Lockout and
 7 Preliminary Injunction Order (and the 6/23/23 [Dkt. 70] Order continuing the Dkt. 13 Order until this

 8 Court orders otherwise).

 9       The Declaration of Han Trinh, Greyson’s administrator hereto explains that Greyson moves this
10 Court to vacate the Dkt. 13 and Dkt. 70 Order--as to Greyson--because Greyson was never an alter ego

11 of debtor LPG, but instead is a direct competitor of LPG and similar companies, and Greyson needs

12 Greyson’s property and data, which the Celentino firm seized, and locked Greyson out of, on 6/2/23,

13 and has kept Greyson locked out of the present, to operate. This includes that Greyson needs the data

14 and the word and pdf documents in Greyson’s Microsoft account to operate--including needs Greyson’s

15 contracts and invoices saved in Greyson’s Microsoft account, to collect debts that third parties—

16 including LPG alter ego Phoenix--owe to Greyson. Han’s Declaration attests that Greyson’s data, and

17 word and pdf documents, were contained in Greyson’s Microsoft account, and that Greyson’s Microsoft

18 data, word documents and pdf documents were all backed up in the OneDrive cloud portion of Greyson’s

19 Microsoft account, which Celentino firm has kept Greyson locked out of from 6/2/23 to present.

20       B.      GREYSON’S FRIVOLOUS MOTION FOR RECONSIDERATION OF THIS
                 COURT’S PRELIMINARY INJUNCTION -- AGREED TO BY GREYSON -- IS
21               NOT SUPPORTED BY THE LAW, ANY COMPETENT EVIDENCE AND IS
                 SANCTIONABLE.
22

23       At the heart of Greyson Law Center, PC’s (“Greyson”) frivolous motion is its improper, untimely

24 and misguided challenge of this Court’s findings, Temporary Restraining Order (“TRO”) [Adv. Dkt 13]

25 and Preliminary Injunction [Adv. Dkt. 70] entered on June 23, 2023 to which Greyson at bar on June

26 12, 2023 and thereafter negotiated and agreed to be entered as an order of the Court. Greyson has

27 provided no authority that it is entitled to vacate a stipulated preliminary injunction. Additionally,

28 Greyson has proven through the Trustee’s good faith efforts to meet and confer on these issues its

                                                       1
  Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                Main Document    Page 6 of 42


 1 inability to refute the incontrovertible evidence that Greyson was devised and controlled by Tony Diab

 2 (“Diab”) hiding in the shadows and funded with assets of the Litigation Practice Group, PC (“LPG” or

 3 “Debtor”) as yet another phoenix rising from the ashes – LPG 2.0.

 4        Greyson now seeks a judicial order to recover, under a false pretense of lawful competition, LPG’s

 5 clients and Diab’s golden goose. An outcome this Court specifically rejected at the June 12, 2023

 6 hearing. No new case law or newly discovered evidence or arguments have been offered. Greyson

 7 conceded it was funded with LPG assets, stole LPG attorneys and clients and stipulated to the injunction

 8 at the June 12, 2023 hearing; and participated in the drafting and agreed to the language it now seeks

 9 relief from. Now, Greyson improperly attempts to re-argue the same facts as they existed when this

10 Court issued its TRO and Preliminary Injunction in an effort to aid Diab and his colleagues Han Trinh

11 and Jayde Trinh to attempt to gain access to LPG’s assets, proprietary information and trade secrets

12 necessary to continue and further Diab’s fraudulent scheme at Greyson, and/or another new entity should

13 the Court require Greyson’s Microsoft accounts, laptops, computers, Beelink drives and other property

14 at issue herein be turned over.

15        Notwithstanding, the evidence submitted by the Trustee 1 is clear today as it was on May 26, 2023

16 and June 12, 2023. Specifically, that Diab was running Greyson in the shadows as he had done at LPG

17 and that Greyson: 1) was funded entirely with LPG funds; 2) stole LPG’s attorney network and attempted

18 to sell the same information and access back to Phoenix and Consumer Legal Group, PC (“CLG”); 3)

19 transferred LPG’s clients to itself, including those fraudulently transferred to Phoenix Law, PC

20 (“Phoenix”), Oakstone Legal Group, PC (“OLG”) and CLG; 4) misappropriated LPG proprietary

21 documents, marketing affiliates and related corporate opportunities, scripts and training videos among

22 other operational documents; 5) used LPG accounts including IT infrastructure; 6) comingled LPG email

23 and cloud based systems with Greyson’s Microsoft accounts including Microsoft Outlook, Sharepoint,

24 OneDrive, Teams and Viva Engage, among others in order to fraudulently transfer LPG clients,

25 attorneys, proprietary information and marketing affiliates to Greyson; 7) used laptops, computers and

26 other office furniture and equipment that was taken from LPG’s Tustin office, owned by LPG or paid

27
     1
    See the Declarations of Brad Lee, Alex Rubin, Jonathan Serrano, Jeremy Freedman and Chris
28 Celentino concurrently filed herewith in addition to the declarations filed in support of the TRO [Adv.
   Dkt. Nos. 13 and 21 and Preliminary Injunction [Adv. Dkt. No. 70].
                                                        2
  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                 Main Document    Page 7 of 42


 1 for with LPG funds; and 8) had access to LPG’s proprietary client management resource (“CRM”)

 2 software, LUNA, which has now been sold (including the source code and all rights thereto) to Morning

 3 Law Group (“MLG”) pursuant to order of this Court. Notably, Greyson was using LPG funds siphoned

 4 through Phoenix Law, PC (“Phoenix”), PrimeLogix, LLC (“PrimeLogix”), Vulcan Consulting Group,

 5 LLC (“Vulcan”), Maverick Management Group, LLC (“Maverick”), BAT, Inc. (“BAT”) and other alter

 6 egos and/or fraudulent conveyance partners of LPG, Diab, Eng Taing (“Taing”) and others perpetrating

 7 the Ponzi scheme and fraudulent transfers (hereinafter collectively referred to as “alter egos”) to pay

 8 Greyson’s (most formerly LPG’s) 140 plus employees, related benefits and other business related

 9 expenses, including attorney leases, websites, internet, and litigation costs.

10 These are facts Greyson judicially admitted to, submitted into evidence in opposition to the Preliminary

11 Injunction and that which the Trustee has obtained as a result of the Preliminary Injunction and submit

12 herewith. These same facts have been presented to Greyson and its attorney in a good faith effort to

13 resolve these issues only to fall on deaf ears. As such, Greyson’s frivolous motion should be denied and

14 the Preliminary Injunction modified to remove the “carve out” allowing Greyson to compete in the debt

15 resolution industry until this Court orders otherwise.

16             1.        Relevant Procedural History

17        On March 20, 2023, the Debtor filed a Voluntary Petition for Relief under Chapter 11 of Title 11

18 of the United States Code, 11 U.S.C. sections 101, et seq. (the “Bankruptcy Code”), in the United States

19 Bankruptcy Court for the Central District of California (the “Court”). On May 4, 2023, the Court entered

20 the Order Directing United States Trustee to Appoint a Chapter 11 Trustee [Bk. Dkt No. 58], and on

21 May 8, 2023, the Trustee filed his Acceptance of Appointment as Chapter 11 Trustee [Bk. Dkt. No. 63].

22        To preserve the Estate’s going concern value and to halt the collection of Estate funds by numerous

23 parties, the Trustee moved quickly to file this adversary proceeding [Adv. Proc. No. 8:23-ap-01046-SC

24 (“1046 Action”)] against dozens of defendants on May 25, 2023 – less than three weeks after his

25 appointment. The Court granted a TRO and injunctive relief sought in the initial Adversary Complaint

26 in an Order entered May 26, 2023 [Adv. Dkt. No. 13] and in an Amended Order entered on June 2, 2023

27 [Adv. Dkt. No. 21]. The 1046 Action and the injunctive relief obtained herein was and remains essential

28 to preserve LPG’s estate, the value of the sale of the LPG law business to MLG, and prevent further

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                 Main Document    Page 8 of 42


 1 fraudulent transfers, wrongful conduct and harm to consumers [Bk. Dkt. No. 352].

 2        In granting the TRO, the Court set a Preliminary Injunction hearing on June 12, 2023 providing

 3 all interested parties the opportunity to oppose the TRO and imposition of a Preliminary Injunction [Adv.

 4 Dkt. No. 10]. Despite the motion and hearing on the emergency TRO being filed under seal and heard

 5 without notice, Jayde Trinh (“Jayde”) and likely Han Trinh (“Han”) and Diab were aware the Trustee

 6 would be seeking such relief. In an effort to thwart the Trustee’s efforts, Jayde, general counsel for

 7 Greyson, sent an email to all employees advising them not to speak to any one acting on the Trustee’s

 8 behalf. [AR Decl. at ¶ 14, Exh. 11.]

 9        On June 2, 2023, Greyson was served with the TRO at 3345 Michelson Drive, Suite 400B, Irvine

10 California 92612 (“400B”) [Declaration of Jonathan Serrano (“Serrano Decl.”) at ¶ 3-6]. Later that day

11 after checking with Han and Jayde, Justin Nguyen (“Nguyen”) provided Greyson’s log in credentials

12 which were changed. [Id.] Notwithstanding, Greyson employees continued to have access to Greyson’s

13 Microsoft account through approximately June 9, 2023. [Declaration of Alex Rubin (“AR Decl.”) at ¶

14 1.] No person or entity employed or acting on behalf of the Trustee who was provided access to

15 Greyson’s turned over accounts has or instructed anyone to alter, modify or delete any of Greyson’s files

16 or accounts, other than to change the log in credentials and setting to block unauthorized access to the

17 account. (AR Decl. at ¶ 1; Serrano Decl. at ¶ 6; Declaration of Jeremy B. Freedman (“Freedman Decl.”)

18 at ¶ 2; Declaration of Christopher Ghio (“Ghio Decl.”) at ¶ 2; Declaration of Christopher Celentino

19 (“Celentino”) at ¶ 2.]

20        On June 12, 2023, Greyson filed its Opposition to Motion for Turnover, Preliminary Injunction,

21 Lock-Out, Re-Direction of US Mail and supporting declarations [Dkt Nos. 46, 47, 47-1 through 4-11

22 and 48]. Greyson was initially represented by Doug Plazak of Reid Hellyer, PAC [Id.] In support of its

23 opposition, Greyson made the following critical admissions:

24        a.     “From May 3, 2023, to the present, Greyson has employed roughly 140 people…” [Adv.

25               Dkt Nos. 46 and 47 at 3:26-17; Hanh Trinh Decl., Adv. Dkt. No. 47-2 at ¶ 12];

26        b.     “Mr. [Wes] Thomas [on behalf of Diab and Oakstone] told Ms. Trinh that Greyson could

27               use the office space, existing furniture, and existing IT equipment for free because Greyson

28               would only need to use the space/furniture/equipment for approximately two months while

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                 Desc
                                 Main Document    Page 9 of 42


 1               she was looking for other office space on behalf of Greyson.” [Adv. Dkt. Nos. 46 and 47

 2               at 3:16-19; Hanh Trinh Decl., Adv. Dkt. No. 47-2 at ¶ 10];

 3        c.     Greyson hired LPG attorneys who wrongfully and in violation of their ethical duties

 4               solicited approximately twenty (20) LPG clients to follow them to Greyson [Dkt. Nos. 46

 5               and 47 at 4:10-11; Scott Eadie Decl., Adv. Dkt No. 47-1 at ¶ 11; Hahn Trinh Decl., Adv.

 6               Dkt No. 47-2 at ¶ 14; see also client declarations Adv. Dkt Nos. 47-3, 47-4, 47-5, 47-6, 47-

 7               7].

 8        In an effort to resolve Greyson’s concerns over certain aspects of the Preliminary Injunction and

 9 in light of representations made by Han regarding its affiliation with Diab, Trustee determined that it

10 was not necessary (to be distinguished from not supported by the evidence) to allege Greyson was an

11 alter ego of LPG and at the time believed he had negotiated the same in good faith with prior counsel

12 for Greyson. [Celentino Decl. at ¶ 3.] Indeed, it was Trustee’s position that Greyson was a fraudulent

13 conveyance partner of the Defendants, if not the alter ego. As such, and after what special counsel for

14 Trustee believed to be good faith negotiations, Trustee withdrew Trustee’s allegation that Greyson was

15 an alter ego notwithstanding the evidence in support of same. [Id.]

16        On June 12, 2023, the Court held a hearing on the Trustee’s Preliminary Injunction that lasted

17 more than seven (7) hours in order to allow each party to be heard and to present evidence in support of

18 and opposition to the Preliminary Injunction [Adv. Dkt. No. 50]. This Court read, considered and found

19 that Greyson’s opposition and declarations in addition to the judicial admissions at the hearing supported

20 the imposition of the Preliminary Injunction subject to several changes specific to Greyson even after

21 the Trustee withdrew his alter allegations against Greyson based on prior negotiations. Notably, at the

22 June 12, 2023 hearing Greyson admitted and this Court took notice in granting the Preliminary

23 Injunction as to Greyson the following:
                THE COURT: And how do they get -- how does Greyson get money to pay
24              these 140 people?
25
                 MR. PLAZAK: Well, I believe that was the -- that’s the issue that -- when
26               counsel, Mr. Celentino, was discussing the inability to make payroll, I believed,
                 at least in part, the way they were doing it was to access the ACH mechanism
27               to draw funds to pay, which were used to pay predominantly, I believe, the
                 attorneys and their staff who were doing the litigation in other states. Celentino
28               (33:10-16) So in the last few weeks, the direction was given to pull the LPG

                                                         5
 Case 8:23-ap-01046-SC      Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                   Desc
                            Main Document     Page 10 of 42


 1           client money, and then the direction was given for that money to go to
             Prime Logix or Maverick. And that money was used at those locations to
 2           either compensate personnel at Greyson and/or personnel at Phoenix
 3           and/or a series of other purposes that were detailed to the to the Court.
             [Adv. Dkt. No. 76, at 73:18-74:1.]
 4
             THE COURT: Is there anyone else that controls the bank accounts and the flow
 5           of money going in and out of Greyson?
             …
 6           MR. PLAZAK: And for the purpose of today, I don’t know that it -- it’s -- for
             the purpose of whether or not there should be a further injunction on –
 7

 8           THE COURT: Well, let me explain to you that if you don’t know anything
             about it, then your papers are fairly worthless, because they have made a strong
 9           case that the preliminary injunction should go with respect to the Greyson Law
             Center.
10
             [Adv. Dkt. No. 76, at 75:9-25]
11           MR. PLAZAK: Well, again, as I say, it’s – I believe that Greyson should be
             treated differently than the other alter egos. And again -- or the other affiliates,
12           rather, who are deemed to be alter egos. And therefore -- and again, what’s
13           before the Court is again the concept of whether or not the preliminary
             injunction should be maintained as to the alter egos and as the trustee would –
14           THE COURT: Well, I think your judicial admissions made today pretty
             well give a good basis to continue the injunction against Greyson.
15
             [Adv. Dkt. No. 76, at 79:21-80:5]
16           MR. PLAZAK: I think -- if I understand it right –
17
             THE COURT: What you’re afraid of is they’re going to -- I’m going to kill the
18           golden goose, and I’m not going to -- I’m not going to do anything but that.

19           MR. PLAZAK: Well -- and I think based on what everybody is saying is -- I
             think what has to happen is Mr. Celentino and I just need to work on specific
20           language that relates to this that’s going to cover Greyson, which is in a different
             situation with the others. And I believe the idea is that we’re -- we just need to
21
             work together to figure out language, as it relates to ACH, that’s going to be
22           different for Greyson than perhaps all the others. And the same thing with, for
             example -- well, (indiscernible) -- you know, again, with the lockout. In other
23           words, we’re not -- things that would apply to Greyson may perhaps not apply
             to the other entities. And I think these are all things that probably can be worked
24           out by Mr. Celentino and I.
25
             MR. CELENTINO: So if I may suggest, your Honor, the temporary restraining
26           order says that it’s in effect until further order of the Court.

27           THE COURT: That’s right.
28

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                Main Document     Page 11 of 42


 1               MR. CELENTINO: I think the temporary restraining order can remain in effect,
                 with the understanding that a minute order perhaps can accommodate for the
 2               physical appearance at the premises, if that’s what they want to do tomorrow.
 3               And we will work out both language, and you have the trustee’s promise that
                 we will get the data files to them on those 48 clients. And we’ll make sure on
 4               our end that those 48 clients are no longer in the LPG ACH pull if they ever
                 were.
 5
                 THE COURT: Mr. Plazak?
 6

 7               MR. PLAZAK: I think that’s fine. And I think that’ll work out fine.

 8 [Adv. Dkt. No. 76, at 261:7-262:15]

 9        In light of the foregoing admissions, the Court ordered counsel for Defendants Diab and Daniel

10 March to provide the court with a comparison of LPG outside counsel attorney network and every

11 attorney working on former LPG clients. [Adv Dkt. 76 at 89:3-25.] To date, Trustee is unaware of any

12 party providing the Trustee or the Court with this information. Notwithstanding, the Court’s Preliminary

13 Injunction and the Trustee’s diligent investigation has obtained the information as it relates to Greyson.

14 Notably, a comparison of LPG’s attorney network and Greyson’s attorney network who were working

15 on former LPG client files, including those attorneys Greyson speciously claims it was “locating” for

16 Phoenix and CLG and charging these entities a flat fee for such services make it clear LPG’s attorney

17 network was stolen by Greyson. [AR Decl. at ¶ 7, 20, 21, Exhibits 4, 16 and 17; BL Decl. at ¶ 5, Exh.

18 A.] Actions that are not consistent with competition, as Greyson now attempts to argue, but rather theft.

19        After the June 12, 2023 hearing, Mr. Plazak and Mr. Celentino negotiated the language of the

20 Preliminary injunction as it related to Greyson, which this Court then entered on June 23, 2023. [Adv.

21 Dkt. No. 70; Celentino Decl. at ¶¶ 3-4.] As part of the stipulated preliminary injunction as to Greyson,

22 the Trustee agreed to give Greyson limited access to its client files, email addresses, telephone numbers,

23 documents and other information stored on LUNA as to the 40 to 48 clients it claims were its own.

24 [Freedman Decl. at ¶ 13, Exhs. J - K.] On July 7, 2023, Trustee provided Mr. Plazak with log in

25 credentials to LUNA in order for Greyson to retrieve the data it needed. [Id.] As far as Trustee is aware,

26 Greyson accessed its client files provided by Trustee and did in fact retrieve its data as Trustee has not

27 received any further demands in this regard. [Freedman Decl. at ¶ 13, Exh. K.]

28 ///

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                Main Document     Page 12 of 42


 1        Further, as a result of the negotiations between Mr. Plazak and counsel for the Trustee, a handful

 2 of inconsequential personal effects that were being held by Trustee were turned over to Greyson.

 3 However, during these same negotiations Mr. Plazak provided invoices for LPG furniture Greyson was

 4 using at 400B. [Freedman Decl. at ¶ 3, Exh. A.] The invoices Mr. Plazak provided clearly indicate they

 5 were made out to and paid by LPG. [Id.] Mr. Plazak had also requested access to four email accounts,

 6 which the Trustee was willing to consider seeking Court authority to provide access to on the condition

 7 that the employees provide affidavits to ensure the account was theirs and was needed for legitimate

 8 client related purposes, unrelated to LPG. Mr. Plazak, however, provided questionable letters that were

 9 not affidavits. [Celentino Decl. at ¶ 6.] No further requests were made by Greyson or its counsel until

10 Greyson filed its frivolous motion to vacate this Court’s preliminary injunction. [Id. at ¶ 6, Exh. D.]

11        On September 11, 2023, Kathleen March of The Bankruptcy Law Firm, PC, substituted in as

12 attorney of record for Han Trinh and Jayde Trin [Adv. Dkt. No. 195]. On October 25, 2023, Ms. March

13 substituted in as attorney of record for Greyson Law Center, PC [Adv. Dkt,. No. 238].

14              2.       Relevant Provisions of the Court Ordered TRO and Stipulated Preliminary

15                       Injunction

16        The Court ordered TRO provided in relevant part that Greyson: 1) turnover accounting records,

17 ACH files, ACH processing files, client files and all accounts, including those hosted on Microsoft 365,

18 g-suite or any other email server whether physical or cloud based servers or physical saved to a laptop,

19 desktop or Beelink drive. [Adv. Dkt No. 13 at pgs. 1-4, ¶ 1-13]. The TRO further provides that Greyson

20 be locked out of LUNA, Microsoft Sharepoint, emails, and other cloud based systems or access to client

21 files, ACH files, or ACH processing files which would include the information stored on laptop, desktop

22 and Beelink drives as well as any access point such as website with login access or backdoor pathways

23 not visible to the public. [Adv. Dkt. No. 13 at pg. 10, ¶ 1.]

24        After the June 12, 2023, Greyson stipulated to imposition of the Preliminary Injunction subject to

25 carving out certain provisions to allow Greyson to lawfully compete in the debt relief industry, as

26 discussed below. Based in part on representations made to the Trustee and this Court by Han that

27 Greyson was not affiliated with Diab and was completely separate and providing differentiated services,

28

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  Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                 Desc
                               Main Document     Page 13 of 42


 1 the Trustee accepted Greyson’s revised language to the Preliminary Injunction. 2 [Celentino Decl. at ¶ 4,

 2 Exh. B.] In relevant part, Greyson drafted and stipulated to the Preliminary Injunction subject to the

 3 following conditions:

 4               14.     Nothing herein is intended to require Greyson or its owner, Scott Eadie,
                 or Greyson employees Jayde Trinh or Han Trinh to turn over: (a) any files for
 5               Clients which Greyson did not obtain from or through access to data or
                 personnel, including affiliated attorneys, from LPG, Phoenix, Oakstone, LGS
 6
                 Holdco, LLC, CLG, or Gallant; (b) any accounting records, files, data and
 7               information for Clients which Greyson did not obtain from or through any
                 access to data or personnel, including affiliated attorneys, from LPG,
 8               Phoenix, Oakstone, LGS Holdco, LLC, CLG, or Gallant; (c) contracts,
                 records, reports, information, data and details regarding the transfer or sale of
 9               any Client files or future Client ACH payments to any other law firm,
                 organization, corporate entity, person(s), or investment group for Clients which
10
                 Greyson did not obtain from or through any access to data or personnel,
11               including affiliated attorneys, from LPG, Phoenix, Oakstone, LGS Holdco,
                 LLC, CLG, or Gallant. Further, nothing herein is intended to prevent
12               Greyson from storing, maintaining, and/or hosting email accounts and
                 domains on Office 365, g-suite or any other email server, whether physical
13               or cloud based, that is unrelated to LPG, Phoenix, Oakstone, LGS Holdco,
14               LLC, CLG, or Gallant, and provided that such email accounts and
                 domains were not funded through, acquired or developed by funds the
15               genesis of which was the legacy files of LPG, including but not limited to
                 any funds delivered after January 1, 2019, from, through or affiliated with
16               Maverick, Vulcan. Coast Processing; SCS, Prime Logix, Oakstone,
                 Gallant, Touzi, and/or any of the ACH payment processors or financial
17               institutions named in this Order.
18 [Adv. Dkt. No. 70 at pgs. 7-8, ¶ 14.]

19       As set forth more thorough below and established by the evidence filed herewith by the Trustee,

20 all of the Microsoft Accounts and purported computers were LPG assets, funded with LPG assets, and

21 was not “unrelated” to accounts, domains or cloud based systems of LPG, Phoenix, OLG or CLG. As

22 such, all of the actions taken by the Trustee have been consistent with this Court’s TRO and the

23 Stipulated Preliminary Injunction which Greyson drafted and stipulated to and should continue. Indeed,

24 upon reflection and consideration of the evidence discovered pursuant to the provisions of the

25 Preliminary Injunction and the access provided to the aforementioned accounts, and produced herein,

26 Trustee submits that stipulated paragraph 14 should be removed.

27
     2
     The representations of Han Tring, and upon which Trustee negotiated and agreed to the relevant
28 exception to the Preliminary Injunction later turned out to be false as shown by the evidence submitted
   by the Trustee.
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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                 Desc
                                Main Document     Page 14 of 42


 1              3.       Greyson’s Frivolous Motion Is Not Raised On Any Cognizable Legal Standard

 2        “A party seeking modification or dissolution of an injunction bears the burden of establishing that

 3 a significant change in facts or law warrants revision or dissolution of the injunction.” Karnoski v.

 4 Trump, 926 F.3d 1180, 1198 (9th Cir. 2019) citing Sharp v. Weston, 233 F.3d 1166, 1170 (9th Cir. 2000)

 5 1170 and Alto v. Black, 738 F.3d 1111, 1120 (9th Cir. 2013). An order granting or denying a preliminary

 6 injunction may be reconsidered if the court: (1) is presented with newly discovered evidence, (2)

 7 committed clear error or the decision was manifestly unjust, or (3) if there is an intervening change in

 8 controlling law. Adidas Am., Inc. v. Payless Shoesource, Inc., 540 F. Supp. 2d 1176, 1179 (D. Or. 2008)

 9 (citing Sch. Dist. No. 1J, Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993)). A

10 motion for reconsideration may not be used to raise arguments or present evidence for the first time

11 when they could reasonably have been raised earlier in the litigation. Marlyn Nutraceuticals, Inc. v.

12 Mucos Pharma GmbH & Co., 571 F.3d 873, 880 (9th Cir. 2009). A motion that merely seeks to re-

13 litigate the issues underlying the original preliminary injunction order is subject to the 28-day limit of

14 FRCP 59(e), while a motion that in substance is based on new circumstances that have arisen after the

15 court granted the injunction may be filed at any time before entry of a final judgment. Credit Suisse First

16 Boston Corp. v. Grunwald, 400 F.3d 1119, 1124 (9th Cir. 2005).

17              4.       Continuing the Court’s Preliminary Injunction Is Necessary and Supported

18                       by the Facts

19                               Greyson’s Frivolous Motion is Untimely

20        Greyson’s frivolous motion seeks to re-litigate the alter ego issue raised by Greyson in its

21 opposition to the Preliminary Injunction and sole argument at the June 12, 2023 Preliminary Injunction

22 hearing, which this Court rejected. An issue the Trustee did not concede but rather thought he had

23 negotiated with counsel for Greyson in good faith based on representations made by Han to Trustee and

24 this Court, only to later learn based on evidence acquired as a result of the Preliminary Injunction that

25 Han had deceived the Trustee as she has done this Court. [Celentino Decl. at ¶¶ 3-4.]

26        Greyson is and has been nothing more than another LPG rising from the ashes controlled by Diab

27 operating in the shadows using Han, Jayde, Scott Eadie (“Eadie”) and others to do his bidding similar

28 to Daniel March (“March”). [Declaration of Brad Lee (“BL Decl.”) at ¶¶ 5-12.] In return, these

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                                Main Document     Page 15 of 42


 1 individuals received great rewards including three hundred to half a million dollar salaries, a Mercedes

 2 and a student loan paid off all of which was paid for using LPG funds. 3 Moreover, Greyson has stolen

 3 LPG funds, property, proprietary information, documents, scripts, training materials, attorney network

 4 and former LPG clients using former LPG attorneys to improperly solicit such clients to become clients

 5 of Greyson. [BL Decl. at ¶¶ 5-12.] As such, an alter ego theory is not necessary or fatal to this Court’s

 6 Preliminary Injunction as this Court noted at the June 12, 2023 hearing. [Adv. Dkt. No. 76, at 79:21-

 7 80:5.]

 8        Based on Greyson’s sole alter ego argument, the time for Greyson to file a motion for

 9 reconsideration has long passed. Pursuant to Federal Rules of Civil Procedure 59(e) Greyson had 28

10 days file such a motion and failed to do so. Credit Suisse First Boston Corp., supra, 400 F.3d at 1124.

11 As such the Court is authorized to and should deny Greyson’s motion on such grounds.

12        C.      GREYSON’S        FRIVOLOUS          MOTION        PROVIDES        NO      BASIS     FOR

13                RECONSIDERATION OF THE PRELIMINARY INJUNCTION

14        Greyson provides no newly discovered evidence that supports its position. As more thoroughly

15 discussed below, the credit card statements for Han and Nguyen do not prove: 1) the statements were

16 not paid with LPG funds from BAT, Inc., Vulcan, Maverick, PrimeLogix or Diab himself; 2) Sherri

17 Chen or H3 Computer Services were not reimbursed with LPG funds; 3) which of the computers and

18 Beelink drives Greyson claims is its property as opposed to the computers purchased and provided by

19 LPG when Greyson moved in as admitted by Han and Eadie in their opposition declarations; 4) that any

20 of the computers Greyson demands the return of were purchased with funds that did not originate from

21 LPG assets; and 5) that 26 of the computers for which Greyson has not provided any evidence for were

22 not LPG assets or purchased with LPG assets – the evidence submitted only shows twenty-three (23)

23 Beelink drives and one Intel Processor on H3 Computer Services and Sheri Chen’s credit card.

24 Nonetheless, this is all evidence Greyson had when they opposed the Preliminary Injunction and is

25 therefore not newly discovered evidence and not grounds for reconsideration. Sch. Dist. No. 1J,

26 Multnomah Cnty., Or., supra, 5 F.3d at 1263.

27
     3
28    With regards to these claims, Trustee intends to file before the January 17, 2024 hearing appropriate
     adversary proceedings as against Han and Jayde Trinh.
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  Case 8:23-ap-01046-SC          Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                  Desc
                                 Main Document     Page 16 of 42


 1        Similarly, there has been no new change in law that the Trustee is aware of and Greyson has not

 2 offered any to support reconsideration. Sch. Dist. No. 1J, Multnomah Cnty., Or.,supra, 5 F.3d at 1263.

 3 Lastly, any contention the Court’s Preliminary Injunction was clearly erroneous and unjust, based on

 4 uncontroverted evidence, Greyson’s judicial admissions and after Greyson stipulated to the injunction

 5 is simply untenable and without merit. The evidence that was submitted by the Trustee to the Court in

 6 support of the TRO and Preliminary Injunction has only been bolstered by the newly obtained evidence

 7 Trustee submits in opposition to Greyson’s frivolous motion. Evidence that would likely have been

 8 destroyed or lost but for this Court’s Preliminary Injunction.

 9        D.         THE EVIDENCE NECESSITATES THE PRELIMINARY INJUNCTION
                     GREYSON STIPULATED TO AND IT’S CONTINUED ENFORCEMENT, AND
10                   PERHAPS MODIFICATION TO FURTHER LIMIT GREYSON’S WRONGFUL
                     INTERFERENCE WITH THE ESTATE
11

12        Federal Rules of Civil Procedure, Rule 65 requires a party seeking a preliminary injunction
13 establish “(1) a likelihood of success on the merits, (2) a likelihood of irreparable harm in the absence

14 of preliminary relief, (3) the balance of equities tips in their favor, and (4) an injunction is in the public

15 interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). As discussed below and as

16 previously found by the Court, the evidence makes it clear that Trustee is likely to succeed on his claims

17 against Greyson, failure to continue the injunction will further Diab’s fraudulent scheme, cause

18 irreparable harm to LPG’s estate, consumers and allow Diab through Greyson to raise LPG from the

19 ashes by using LPG’s, client files, ACH information, proprietary information, documents and trade

20 secrets to steal former LPG clients without which Greyson would not be able to do.

21              1.        The Genesis of Greyson and the Scheme to Use LPG Funds to Steal Former
22                        LPG Clients, Proprietary Information and Trade Secrets
23        Around the end of January or beginning of February of 2023, LPG transferred approximately
24 15,000 clients with estimated ACH receivables of $30,000,000 (approximately $2,000 per file) to OLG

25 and Guardian Processing, LLC (Guardian”) in anticipation of filing Bankruptcy. [Adv. Dkt. No. 76 at

26 178:4-5, 22-24; BL Decl. at ¶ 3.] OLG was headed by another non-lawyer, Taing, and was intended to

27 perform legal services; meanwhile, Guardian, was headed by Wes Thomas (“Thomas”), and was to

28 handle client management, ACH transactions, among other tasks to support OLG. [BL Decl. at ¶ 3.]

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  Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                               Main Document     Page 17 of 42


 1        In approximately March of 2023, OLG and Guardian began to experience financial and operational

 2 issues caused by non-payment from Phoenix (itself a recipient of many fraudulently transferred client

 3 files) and CLG, Greyson’s inability to initiate ACH pulls on its 40 to 48 clients and an ongoing dispute

 4 between Thomas and Taing. [BL Decl. at ¶ 4.] Notably, a larger than standard percentage of clients that

 5 had been transferred from LPG to OLG in order to appease Thomas and an affiliate company, Old

 6 Hickory Partners (“OHP”) Thomas had invested in were not performing or making their monthly

 7 payments. [Id.] This was an issue on the same batch of client files received from Acufi / Gofi, another

 8 Thomas enterprise that prevailed at LPG prior to LPG filing Bankruptcy for which LPG purportedly

 9 owed a substantial debt obligation tied to the ACH receivables. [Id.]. The ongoing dispute between

10 Thomas and Taing resulted in both pulling ACH transactions on the same clients transferred to OLG.

11 [Id.] Thomas processed ACH transactions on approximately 5,000 clients transferred to OLG in what

12 appeared to be a last effort to save OLG and Guardian. [Id. at 7.] Taing, on the other hand, initiated a

13 double pull on the same clients, and potentially others, in an effort to recover some of the money his

14 affiliate PECC had paid out through the Oakstone/Guardian venture and then according to Diab, Han

15 and Eadie, Tiang disappeared –at least until the Trustee served him with his adversary complaint in this

16 matter.[Id.; Adv. Dkt. No. 76 at 180:14-16; Adv. Dkt. Nos. 47-1 at ¶ 9 and 47-2 at ¶ 9.]

17        At or around the time LPG filed its Bankruptcy petition, Diab, Han and Jayde met at Diab’s house

18 in Newport Beach wherein they devised another scheme to resurrect LPG and fraudulently transfer LPG

19 funds, attorneys, client files, proprietary information and documents and trade secrets through the

20 formation of yet another entity – Greyson. [BL Decl. at ¶ 5.] OLG client files in litigation were to be

21 transferred to Greyson, and pre-litigation cases transferred to Phoenix. The structure of Greyson is not

22 very different from that of LPG. Diab was to control the finances, funding, marketing affiliates and

23 business operations. Using Diabs’ words, he was not allegedly practicing law but is handling “the

24 everything else.” [Adv. Dkt. No. 76 at 154:13-14.]

25        Han and Jayde were in constant communication with Diab and acting on his instruction regarding

26 business operations, handling, finances and strategy. [BL Decl. at ¶ 10.] Diab directed Greyson to move

27 into OLG’s old office suite, 400B, next to Phoenix. [DL Decl. at ¶ 8.] Diab ordered employees of

28 Greyson, including Brad Lee and Max Chou, to pull task reports on Phoenix’s client calls in order to

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                Main Document     Page 18 of 42


 1 identify issues and its poor performance. [BL Decl. at ¶ 10, Exh. C.] In doing so, Diab was also likely

 2 able to identify performing clients in order to target for Greyson and the LPG attorneys Greyson had

 3 appropriated for itself. Diab also assisted Greyson in setting up new affiliates. [BL Decl. at ¶ 10, Exhs.

 4 D-E.]

 5         Similar to Dan March, Diab and Greyson rented Eadie’s law license. [Adv. Dkt. No 76. at 162:1-

 6 8.] Notwithstanding the financial and operational issues at OLG and Guardian, most employees from

 7 both entities were hired by Greyson to perform the same functions now under Diab’s control. [Id.; BL

 8 Decl. at ¶ 5, 9.] In an effort to distinguish some of the services Greyson provided, Diab, Han and Jayde

 9 devised a plan wherein Greyson would sell Phoenix and CLG access to the misappropriated LPG’s

10 attorney network (at approximately $2,000 per file) all of whom Greyson had appropriated for its own

11 use and in some instances had directly hired. [BL Decl. at ¶ 5; Adv. Dkt. No. 45-6 at ¶ 8(d).] This also

12 appears to have been a method for identifying performing files and valuable clients for Greyson to solicit

13 and improperly steal. Notably, however, Greyson’s re-selling operations bore little financial fruit as

14 Phoenix and CLG failed to pay Greyson, such that Greyson directed its attorneys to halt all onboarding

15 of Phoenix and CLG clients. [AR Decl. at ¶ 12, Exh. 9 (“Please do not take on cases from CLG or

16 Phoenix on a direct basis as Greyson is yet to finalize a master agreement between the respective firms

17 and Greyson as was previously intended and originally planned out. Both CLG and Phoenix have been

18 either short to provide necessary payments for representation to Greyson, or purposely withheld said

19 funds to Greyson.”.] In essence, the scheme was to profit in one form or another from the performing

20 LPG clients. [BL Decl. at ¶ 5.] As this Court is aware, the Trustee recovered all of the files

21 misappropriated to Phoenix, but none of the Phoenix liabilities. [Bank. Dkt. No. 365.]

22         This time, however, Diab had two additional accomplices, Han and Jayde, to provide additional

23 cover for Diab. In return, Han and Jayde were paid substantial sums of money that no reasonable start

24 up with no assets of its own would pay, including a second year attorney $500,000 per year or general

25 administrator $300,000 per year. [Declaration of Ty Carss, Adv. Dkt No. 45-6 at ¶ 8d.] The evidence

26 further shows, immediately before LPG filed its Bankruptcy petition, Diab used LPG funds to pay off

27 Han’s Mercedes and Jayde’s student loans for their active and complicit role in Diab’s scheme. To

28 further hide his involvement, Diab has and continues to use throw away “burner” phones and mostly

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40              Desc
                                Main Document     Page 19 of 42


 1 communicates in person. [BL Decl. at ¶ 10.]

 2             2.        Greyson Was Funded with LPG Assets

 3        For approximately less than a month, Greyson was initially backed, mainly in the form of free

 4 office space at 3161 Michelson through Taing. [BL Decl. at ¶ 7.] PECC which Taing owns and owned

 5 the building Greyson occupied rent free. [Id.] On or about April 27, 2023, Greyson was locked out of

 6 3161 Michelson by Taing and PECC. [Adv. Dkt. Nos. 47-1 at ¶ 9 and 47-2 at ¶ 8.] Financial accounts

 7 opened by Taing in early March 2023 after locking Greyson out of its office space were quickly closed

 8 with all funds remaining in Taing’s possession indicating little if any financial contribution had been

 9 made by Taing or PECC. [Id.] Substantial funding to start Greyson, however, came from Diab and his

10 alter egos BAT, PrimeLogix, Vulcan and Maverick. [BL Decl. at ¶ 7; Adv. Dkt. No. 76, at 73:18-74:1.]

11        Greyson never had its own funds nor was it able to fund its operations, payroll for approximately

12 140 employees and expenses. [BL Decl. at ¶ 7; Adv. Dkt Nos. 46 and 47 at 3:26-17; Hanh Trinh Decl.,

13 Dkt. No. 47-2 at ¶ 12; Adv. Dkt No. 76, at 73:18-74:1.] Greyson never pulled any ACH payments on its

14 approximated 40 to 48 clients despite opening its own Revolv3 account which was initially funded with

15 $15,000 in funds from BAT. [BL Decl. at ¶ 13; AR Decl. at ¶9, Exh. 6.] As discussed above, Greyson

16 was not getting paid from re-selling LPG’s attorney network to Phoenix and CLG. Greyson has admitted

17 it did not have its own funds to make payroll at the June 12, 2023 hearing. [Adv. Dkt. No. 76, at 73:18-

18 74:1.] Along these same lines, the evidence shows Greyson’s expenses including IT infrastructure,

19 equipment and furniture were provided by LPG, paid with LPG assets and/or sent to Diab with

20 instruction to “pay it.” [AR Decl. at ¶ 4, Exh. 1.]

21        Notwithstanding, the evidence is clear, Greyson’s payroll including payroll made to Guardian

22 employees during the transition to Greyson were paid with LPG funds through Diab and his alter egos

23 BAT, Vulcan. Primelogix and Maverick. After LPG filed its Bankruptcy Petition, ACH transactions

24 continued to be processed on LPG client files through LPG’s Revolv3 account. [AR Decl. at ¶ 15, Exh.

25 F.] Those funds were then directed to accounts identified by Diab, including Vulcan and PrimeLogix as

26 well as BAT [Id.] PrimeLogix then sent funds to Maverick who initially funded Greyson’s Paychex

27 account in order to make payroll. [BL Decl. at ¶ 14-15; Freedman Declaration at ¶¶ 5-7, Exhs. C-F.]

28 Diab so testified on June 12, 2023. [Adv. Dkt. No. 76:8-15.]

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  Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40              Desc
                               Main Document     Page 20 of 42


 1       Of note, Diab who had bought out other investors in BAT owned and/or controlled BAT and on

 2 March 2, 2023, ahead of filing LPG’s Bankruptcy petition, named Han Trinh the Chief Executive Officer

 3 (“CEO”), Chief Financial Officer (“CFO”) and Secretary of BAT. [Freedman Decl. at ¶ 4, Exh. B.]

 4 Around this same time and at least prior to May 2023, Diab made Han a primary signatory to BAT’s

 5 Chase Platinum Checking account ending in 0830. [BL Decl. at ¶ 9.] On May 2, 2023, Han directed

 6 accounting to process Greyson’s payroll through BAT indicating there was a $500,000 daily limit on

 7 the account. [AR Decl. at ¶ 15, Exh. 12.] On May 3, 2023, Han sent Guardian’s payroll directly to Diab,

 8 which Greyson had assumed by re-hiring most of Guardian employees, who were previously working

 9 for LPG. [AR Decl. at ¶ 5, Exh. 2; BL at ¶ 9.]

10       Thereafter, Greyson’s payroll for all 140 plus employees was funded primarily through

11 PrimeLogix and Vulcan with LPG funds with physical checks and for those checks that did not clear

12 payroll was sent via wire, Venmo or other money transfer application from BAT directly. By Way of

13 example, several Greyson employees received payroll checks from Vulcan and PrimeLogix that did not

14 clear. [AR Decl. at ¶¶ 22-24, Exh. 18-20.] These employees were then instructed to provide Venmo or

15 wire instructions and were wired funds directly from BAT’s account. [AR Decl. at ¶ 24, Exh. 20.] Along

16 these lines, Eadie was paid directly from BAT’s account on or about May 24, 2023. [AR Decl. at ¶ 16,

17 Exh. 13.] Greyson used LPG funds to pay for expenses through BAT’s Chase account and/or Diab

18 directly. [AR Decl. at ¶ 17, Exh. 14.] Greyson’s furniture was purchased and moved to and from its

19 various offices with LPG funds. [Freedman Decl. at ¶ 3, Exh. A.] Moreover, Greyson employees,

20 including Scott Eadie went to LPG’s Tustin office and loaded up a U-haul with numerous computers,

21 laptops, computer screens and other equipment all of which was LPG’s for their own use. [BL Decl. at

22 ¶ 8, Exh. B.)Contrary to Han and Eadie’s declarations asserting under oath they opened a Citibank

23 account in May 2023 to pay for Greyson expenses [Adv. Dkt. Nos. 47-1 at ¶ 9 and 47-2 at ¶ 9], Greyson’s

24 Citibank account was never funded with money and due to charges that were returned as a result of

25 insufficient funds had an ending balance of -$1.72. [AR Decl. at ¶ 18, Exh. 15.] In addition to the

26 foregoing, it was understood that any expenses paid by individual employees including but not limited

27 to Han and Nguyen would be reimbursed by Diab and his alter egos from the only funds Greyson had

28 access to, LPG Funds. [BL Decl. at ¶ 9.] With little doubt and no evidence to the contrary, Greyson and

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                  Desc
                                Main Document     Page 21 of 42


 1 all its accounts, equipment, furniture, employees, accounts and website were LPG assets and/or

 2 developed and maintained using LPG assets.

 3              3.       Greyson Stole LPG Proprietary Information, Trade Secrets and Co-mingled

 4                       Accounts

 5        Greyson not only did not have any of its own funds, it also did not have resources to compete on

 6 its own without improperly misappropriating and co-mingling LPG accounts, attorney network, client

 7 files, proprietary software, documents and trade secrets. Information the Preliminary Injunction was

 8 intended to and did retrieve and block Greyson from using. Now Greyson improperly demands the

 9 Trustee return access to these accounts in order to allow it to unfairly compete and steal prior LPG clients

10 and in essence assist Diab building another golden goose. Such a result, however, would not only harm

11 consumer clients, give Diab the ability to rebuild and control the fraudulent empire he built at LPG but

12 also facilitate harm to MLG (and therefore the Estate to whom MLG owes future payments) who

13 purchased LPG’s assets in good faith.

14        Indeed, Greyson used LPG’s proprietary and trade secrets to start the fraudulent scheme anew,

15 including LPG’s employee handbook, retainer, legal services agreement, training videos, and scripts.

16 [BL Decl. at ¶ 11-12.] All of which was saved and stored on Greyson’s cloud accounts, including its

17 Microsoft emails, OneDrive, Sharepoint, Teams, Viva and other electronic software. [AR Decl. at ¶ 8,

18 Exh. 5; BL Decl. at ¶ 11-12, Exh. E.] Greyson was using LPG’s proprietary software, LUNA, for free;

19 as indicated, the Trustee gave Greyson limited access to in order to obtain its client files on its

20 approximated 46 clients in order to retrieve its client files, records, documents and communications.

21 [Freedman Decl. at ¶ 13, Exhs. J-K.]

22        Further, the evidence shows Greyson by and through Han, Diab and Maverick stole LPG’s attorney

23 network. [AR Decl. at ¶¶ 7, 20-21, Exhs. 4, 16, 17.] With LPG’s network, Greyson directly recruited

24 and hired some of the attorneys in the LPG network who in turn improperly solicited performing clients

25 to sign with Greyson as opposed to be transferred to Phoenix, OLG or CLG. [Dkt. Nos. 46 and 47 at

26 4:10-11; Scott Eadie Decl., Dkt No. 47-1 at ¶ 11; Hahn Trinh Decl., Dkt No. 47-2 at ¶ 14; see also client

27 declarations Dkt Nos. 47-3, 47-4, 47-5, 47-6, 47-7]. Notwithstanding, these same attorneys were also

28 onboarding Phoenix and CLG clients until they were instructed not to for non-payment. [AR Decl. at ¶¶

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  Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                               Main Document     Page 22 of 42


 1 12, 13, Exhs. 9-10.] Moreover, any boundary between LPG’s email account and online storage and that

 2 of Greyson was non-existent as Greyson employees co-mingled both accounts as if they were one and

 3 the same. [AR decl. at ¶ 10, 25-26, Exhs. 7, 21-22; BL Decl. at ¶¶ 12-13.] With little doubt, providing

 4 Greyson with access to the requested Microsoft accounts would be giving Greyson access to LPG’s

 5 proprietary information intentionally transferred and stored on Greyson’s accounts to support such theft

 6 to re-build Diab’s fraudulent scheme this Court properly shut down.

 7 II.   MEET AND CONFER ORDERED BY THIS COURT’S 12/7/23 ORDER WAS HELD ON
         12/21/23, RE. GREYSON’S MOTION MOVING THE COURT TO VACATE—AS TO
 8       GREYSON—THE 5/26/23 [DKT. 13] LOCKOUT AND PRELIMINARY INJUNCTION
         ORDER
 9

10       A.      GREYSON POSITION REGARDING 12/21/23 MEET AND CONFER IS THAT
                 CELENTINO FIRM “STONEWALLED” IN MEET & CONFER, AND
11               STONEWALLED IN EMAILS AFTER MEET & CONFER
12       Please see Declaration of Kathleen P. March, Esq., of The Bankruptcy Law Firm, PC, counsel of
13 record for Greyson, defending Greyson in adversary proceeding, and representing Greyson on Greyson’s

14 Motion for allowance and payment of administrative claim, that meet and confer was held on 12/21/23

15 by a zoom equivalent, between March, with attorney Rolfe, for Greyson, and with Celentino, Ghio and

16 Freedman for Trustee.

17       In the 12/21/23 meet and confer, the Celentino firm did NOT agree to restore Greyson’s access to
18 any of the following 5 Greyson items: (1) refused to return to Greyson Greyson’s approximately 50

19 computers seized on 6/2/23 at Greyson’s offices; (2) refused to restore Greyson’s access to Greyson’s

20 Microsoft account, including declining to restore Greyson’s access to the OneDrive cloud back up

21 storage that is part of Greyson’s Microsoft account, even though my firm sent you Han Trinh’s bill on

22 Han’s personal credit card, showing Han was paying the approximate $2,300 per month for Greyson’s

23 Microsoft account, from Han’s own money; (3) refused to answer whether your firm still has Greyson’s

24 Microsoft data, including data backed up in the OneDrive cloud backup that is part of Greyson’s

25 Microsoft account; (4) refused to restore Greyson’s access to Greyson’s emails that are part of

26 Greyson’s Microsoft account, and (5) refused to restore Greyson’s access to Greyson’s domain on

27 godaddy, even though my firm sent Celentino et al Justin Nguyen’s personal credit card bill, showing

28 he paid for that domain from his personal funds.

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 Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                              Main Document     Page 23 of 42


 1       In addition, in the Meet and Confer meeting, the Celentino firm attorneys did NOT answer as to

 2 whether or not the Celentino firm still had Greyson’s Microsoft account data, including Greyson’s

 3 Microsoft word documents, and pdf documents, that had all been backed up in Greyson’s One Drive

 4 cloud storage backup, which was part of Greyson’s Microsoft account.

 5       The whole series of emails between Celentino attorneys, and March, are attached to March Decl

 6 hereto as Exhibit A. This includes that after the 12/21/23 Meet and Confer meeting, Greyson attorney

 7 March, on 12/22/23, sent the following email to Celentino, Ghio and Freedman:

 8              “122223
 9              Trustee Marshack Attorneys Christoper Celentino, Christopher Ghio
                and Jeremy Freedman , from KPMarch, Esq. Bky LF (Greyson Law Center PC
10
                etc counsel)
11
                Atty Ghio’s below email, sent to my law firm after yesterday’s (12/21/23) “meet
12              & confer”, is ERROR. As I told you in our meet & confer yesterday, Greyson
                owned a Microsoft account, which included cloud backup (named
13              OneDrive). Greyson’s OneDrive cloud back up was accessed as
                follows: Every Greyson employee had their own Microsoft Account
14              credentials. When they were logged in on their desktop/ beelink computers,
15              everything that they did and saved would automatically be backed up to their
                One Drive. That included documents in all formats including PDFs, Word
16              Docs, Notes, etc. Any user who had global access—such as Greyson’s IT
                Director, Justin Nguyen, had (before Serrano locked Nguyen out)-- was able to
17              access each individual employee’s One Drive from his master Microsoft
                account.
18

19              Greyson’s Microsoft account was owned by Greyson alone, and was accessible
                by Greyson alone. It was NOT on some other company’s account or
20              server. Mircrosoft software, including the OneDrive cloud backup storage, was
                loaded on Greyson’s computers in Greyson’s office. Microsoft word
21              documents, pdfs, and all other documents created on or received by Greyson,
                were automatically backed up, daily, on the Greyon Microsoft cloud
22              backup, OneDrive.
23
                The monthly fee for Greyson’s Microsoft account was paid monthly by Han
24              Trinh, by Han’s personal credit card issued from Wells Fargo Bank. Attached
                is a Wells Fargo credit card statement from Wells Fargo Bank, on Han’s
25              personal Wells Fargo credit card, showing she was personally paying the
                $2,312 a month owed to Mircosoft for Greyson’s Microsoft account (including
26              OneDrive cloud backup).
27              ///
28
                Contrary to what you alleged at the meet & confer (with no evidence to back

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 Case 8:23-ap-01046-SC     Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                           Main Document     Page 24 of 42


 1           up your allegation), Greyson’s Microsoft Account, including Greyson’s
             OneDrive cloud backup , was NOT on some other company’s account and was
 2           not on some other company’s computers or server. Greyson’s Microsoft
 3           account and OneDrive cloud backup were only owned by, and only accessible
             by, Greyson.
 4
             On 6/2/23, your firm’s attorney Jonathan Serrano was at Greyson’s office and,
 5           pursuant to the Bankruptcy Court’s 5/26/23 Lockout and Preliminary Injunction
             Order, demanded that Greyson’s IT director, Justin Nguyen, give Serrano the
 6           access code, to access Greyson’s Microsoft account, which included giving
             Serrano access Greyson’s OneDrive cloud storage backup, of all Greyson
 7
             documents, data, and emails on Greyson’s Microsoft account.
 8
             Justin checked with Han, who told Justin to comply with Serrano’s demand, per
 9           instructions Celentino gave Han (Yes Han has emails showing Celentino’s
             direct involvement) Greyson’s IT director, Justin Nguyen then gave Serrano
10           Greyson’s global access password, to access Greyson’ Microsoft account,
             which included allowing Serrano to access to Greyson’s OneDrive cloud
11           storage.
12
             Consequently, Celentino denying, in yesterday’s meet and confer--that
13           Celentino’s firm demanded and got access to Greyson’s Microsoft account,
             including that Celentino’s firm got access to Greyson’s OneDrive cloud backup
14           that was part of Greyson’s Microsoft account, and denying that Celetino’s firm
             locked Greyson out of Greyson’s Microsoft account, including locking Greyson
15           out of the OneDrive cloud backup, by Serrano changing the password, and not
16           giving the new password to Nguyen--is simply FALSE

17           Serrano tried to access Greyson’s Microsoft account, but didn’t have enough
             technical ability to do so, so Justin Nguyen sat down at the computer, with
18           Serrano, and used Greyson’s global access password, to get into the Microsoft
             account.
19
             When Nguyen got Serrano into Greyson’s Microsoft account, Serrano
20           demanded that Nguyen remove anyone else’s access that had global access
21           permission. After that, Serrano took over and changed the access code to that
             account (without letting Nguyen see what Serrano changed it to, and without
22           telling Nguyen what Serrano changed it to), so that Greyson could no longer
             access Greyson’s Microsoft account, including that Greyson could no longer
23           access Greyson’s documents and emails saved on Greyson’s OneDrive cloud
             backup, which was part of Greyson’s Microsoft account.
24
             Because Serrano had locked Nguyen/Greyson out of Greyson’s Microsoft
25
             account, including locking Greyson out of the OneDrive cloud storage backup
26           that was part of Greyson’s Microsoft account, Nguyen warned Serrano that
             Serrano would have to switch the credit card on file, to Serrano’s firm, to pay
27           the monthly billing on Greyson’s Microsoft account, because Greyson/Han
             would no longer be able to access the Microsoft account, due to Serrano
28           changing the global access password, and therefore Greyson/Han would be

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 Case 8:23-ap-01046-SC     Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                           Main Document     Page 25 of 42


 1           unable to pay the monthly Microsoft bill. Serrano told Nguyen that Serrano
             understood and that he would relay the message.
 2
             Therefore, contrary to what you claimed in the meet and confer, Mr. Celentino,
 3
             Greyson gave your firm (via Serrano) access to Greyson’s Microsoft account,
 4           including giving Serrano access to Greyson’s OneDrive cloud backup storage
             that was part of Greyson’s Microsoft account, and Serrano locked Greyson out
 5           of that account, even though there is nothing in either the 5/26/23 or 6/23/23
             orders that authorizes Trustee/your firm to lock Greyson out of Greyson’s
 6           Microsoft account, or to lock Greyson out of Greyson’s OneDrive cloud
             backup storage to Greyson’s Microsoft account.
 7

 8           Contrary to what Ghio’s below email claims, this is NOT a new issue. This
             issue arose when your firm, on 6/2/23, seized Greyson’s Microsoft account,
 9           including Greyson’s Microsoft OneDrive cloud storage backup that was part of
             Greyson’s Microsoft account and illegally locked Greyson out of Greyson’s
10           Microsoft account/cloud storage, though nothing in the 5/26/23 Lockout and
             Preliminary Injunction Order authorized your firm to lock Greyson out of those.
11
             Please check with Serrano and then REPLY please, to confirm that your firm--
12
             via Serrano-- did, on 6/2/23, demand and get access to Greyson’s Microsoft
13           account, including that your firm obtained access to Greyson’s OneDrive cloud
             backup storage, and that your firm—via Serrano--did lock Greyson out from
14           accessing those on 6/2/23. Please also confirm that your firm/your
             attorneys/your field agents have never restored Greyson’s access to Greyson’s
15           Microsoft account, to present, and have never restored Greyson’s access
16           to Greyson’s OneDrive cloud back up storage, to present.

17           Please, in your REPLY, tell my firm: does your firm still have the data in
             Greyson’s Microsoft account, including does your firm still have Greyson’s
18           documents, data and emails that were saved in Greyson’s OneDrive cloud
             storage backup? If yes, please tell my firm, are you going to restore Greyson’s
19           access to Greyson’s Microsoft account, including restoring Greyson’s access to
             Greyson’s OneDrive cloud storage backup, and when; or does my firm have to
20
             proceed to ask Judge Clarkson to order that, at the 1/17/24 hearing on Greyson’s
21           Motion to vacate—as to Greyson-- the 5/26/23 Order (includes seeking to
             vacate the 6/23/23 continuation of the 5/26/23 Order).
22
             If your firm destroyed, or otherwise failed to preserve, the data in Greyson’s
23           Microsoft account, including the documents, data and emails in Gryson’s
             OneDrive cloud backup storage, after your firm took possession of those, on
24           6/2/23, and locked Greyson out of accessing those, on 6/2/23, please tell my
25           firm, in detail, what happened to Greyson’s data in Greyson’s Microsoft
             account, and in Greyson’s OneDrive cloud backup, after your firm took control
26           of Greyson’s Microsoft account, and OneDrive cloud backup storage to
             Greyson’s Microsoft account, on 6/2/23, and locked Greyson out of those has
27           that data been destroyed after your firm took possession of it on 6/2/23. Has
             your firm destroyed, or allowed to be destroyed the documents and data stored
28
             in Greyson’s Microsoft account, including the documents and data stored in

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 Case 8:23-ap-01046-SC     Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                  Desc
                           Main Document     Page 26 of 42


 1           Greyson’s OneDrive cloud backup storage to Greyson’s Microsoft account.
 2           Think carefully before you answer inaccurately. I have spoken with both Han
             Trinh and Justin Nguyen in detail, and they will both supply declarations
 3
             attesting to the above. I will attach those Declarations to the “joint statement”
 4           of issues that Judge Clarkson has ordered our firms to prepare and file, by
             1/8/24, before the 1/17/23 hearing on Greyson’s Motion to vacate the 5/26/23
 5           Order (includes vacating the 6/23/23 Order that continued the 5/26/23 Order in
             effect), if proceeding by “joint statement” is necessary. That will include that I
 6           will attach the emails from Celentino to Han, to Han’s Declaration, showing
             Celentino’s involvement. Celentino’s claim of lack of any knowledge that
 7
             your firm took possession of, and locked Greyson out of Greyson’s Microsoft
 8           account (including locking Greyson out of Greyson’s OneDrive cloud backup
             storage) concerns me greatly.
 9
             Greyson is also entitled to have your firm return Greyson’s
10           website www.greysonlawpc.com to Greyson, which your firm locked Greyson
             out of. That domain was on godaddy.com and Greyson’s IT director, Justin
11           Nguyen paid for that domain for 3 years, with his personal credit card. See
12           attached credit card bill to Nyugen, on Nyugen’s personal credit card, paying
             GoDaddy for that domain. Please REPLY and tell my firm, is your firm going
13           to restore Greyson’s access to Greyson’s website, or have you destroyed the
             data in Greyson’s website. Please tell my firm. Thank you in advance. There
14           is nothing in the 5/26/23 Order authorizing your firm to lock Greyson out of
             Greyson’s website.
15

16            In addition, contrary to what you claimed in the meet and confer, the 50
             computers that Serrano/your field agents seized at Greyson on 6/2/23, some of
17           those computers had been paid for by Justin Nguyen on his personal credit card,
             some had been paid for by Han Trinh, on her personal credit card, and the rest
18           had been paid for by an investor in the earlier Greyson entity. Greyson is
             entitled to return of, and demands that your firm return to Greyson, all the
19           computers that Serrano/your field agents seized on 6/2/23. It is not Greyson’s
20           burden of proof to supply receipts and serial numbers for the computers you
             seized at Greyson’s offices on 6/2/23. It would be your firm’s burden of proof
21           to prove that the 50 computers Serrano/your field agents seized at Greyson’s
             offices on 6/2/23 belonged to some entity other than Greyson, and you do not
22           have such proof, because that is not the case.
23           KPMarch”
24           There were additional emails back and forth, of which the last email was
25           March’s 12/28/23 at 5:40pm, email to Celentino, Ghio and Freedman, which
             March asked those Trustee attorneys to answer (no answer except automessage
26           from Celentino that he was out of the office until 12/29/23). March’s 12/28/23
             at 5:40pm is part of Exhibit A to March Declaration, which is the whole series
27           of emails. March’s 12/28/23 at 5:40pm states:
28           “122823

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 Case 8:23-ap-01046-SC     Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                           Main Document     Page 27 of 42


 1           Trustee Attys Freedman, Celentino and Ghio, from KPMarch, of BkyLF
             counsel for Greyson
 2
             Though attorney Freedman’s 12/28/23 email purports to respond to my firm’s
 3
             12/22/23 at 6:30pm email to Celentino, Ghio and Freedman, Freedman’s
 4           12/28/23 email does NOT answer any of the questions I ask in my 12/22/23 at
             6:30pm email. That is just stonewalling.
 5
             Yes, we will need to do a Joint Statement.
 6
             But just to be clear, am I correct in concluding, from Freedman’s 12/28/23
 7           email: (1) that your firm refuses to return any of the approximately 50
             computers seized on 6/2/23 at Greyson’s offices; (2) that your firm refuses to
 8
             restore Greyson’s access to Greyson’s Microsoft account, including declining
 9           to restore Greyson’s access to the OneDrive cloud back up storage that is part
             of Greyson’s Microsoft account, even though my firm sent you Han Trinh’s
10           bill on Han’s personal credit card, showing Han was paying the approximate
             $2,300 per month for Greyson’s Mircosoft account, from Han’s own
11           money; (3) that your firm refuses to answer whether your firm still has
             Greyson’s Microsoft data, including data backed up in the OneDrive cloud
12
             backup that is part of Greyson’s Microsoft account; (4) that your firm refuses
13           to restore Greyson’s access to Greyson’s emails that are part of Greyson’s
             Microsoft account, and (5) that your firm refuses to restore Greyson’s access
14           to Greyson’s domain on godaddy, even though my firm sent you Justin
             Nguyen’s personal credit card bill, showing he paid for that domain from his
15           personal funds.
16
             Please REPLY to answer (1)-(5), since Freedman’s below email does not
17           answer any of (1)-(5) Thx.

18           Responding to Atty Freedman’s below email alleging that Greyson’s position
             is unsupported, the side with the unsupported position is your side, the
19           Dinsmore law firm side. It was Mr. Celentino, not me, who made false
             statements in the meet and confer, of which the most glaring falsehood was
20           Celentino falsely claiming that Greyson had no Mircrosoft account, and falsely
21           claiming that your firm did not seize any Greyson Microsoft account and did
             not lock Greyson out of accessing Greyson’s Microsoft account, including
22           locking Greyson out of accessing the OneDrive cloud backup to Greyson’s
             Microsoft account. Contrary to Celentino’s false claims, Greyson had its own
23           Mircrosoft account, which Han Trinh was paying for monthly, with Han’s
             personal credit card (I send you that credit card bill proving that); Attorneys
24           Celentino and Serrano of your law firm demanded that Greyson give your firm
25           the passwords to access Greyson’s Microsoft account, and Han and Greyson’s
             IT director, Justin Nguyen, did so; Serrano immediately changed the passwords,
26           as soon as Justin Nguyen got Serrano into the Greyson Mircosoft account on
             6/2/23, locking Greyson out of Greyson’s Microsoft account, including locking
27           Greyson out the OneDrive cloud backup that was part of Greyson’s Microsoft
             account; and Greyson has remained locked out from 6/2/23 to present.
28

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                 Desc
                                Main Document     Page 28 of 42


 1                I will draft Greyson’s part of the Joint Statement, listing issues (1)-(5)
                  above, and will send the Joint Statement to your firm, for your firm to fill
 2                in your firm’s position on issues (1)-(5). I’ll try to do that by January 2 or
 3                3, 2023. Since I just told you what issues (1)-(5) are, above, feel free to work
                  on your responses, so you will have your responses ready to add to the Joint
 4                Statement, when I email it to you.

 5                Reply to confirm receipt please.

 6                KPMarch”
 7        B.      THE TRUSTEE’S POSITION RE MEET AND CONFER:

 8        Setting aside the vitriol and threats made by counsel for Greyson, the heart of any

 9 misunderstanding stems from Greyson’s initial refusal to identify what “cloud storage” accounts

10 Greyson was referring to during our initial meet and confer web conference on Thursday, December 21,

11 2023. [Celentino Decl. at ¶ 8; Ghio Decl. at ¶ 3; and Freedman Decl. at ¶ 8.] After the meet and confer,

12 counsel for Trustee again requested clarification. [Ghio Decl. at ¶ 4, Exh. A.] It was at that time Greyson

13 indicated what accounts Greyson was specifically referring to in order to evaluate whether the account

14 was covered by the Preliminary Injunction. [Freedman Decl. at ¶ 9.] Specifically, whether it was funded

15 with LPG assets and/or comingled with LPG accounts, data, documents and proprietary information.

16 [Id..] Thereafter, the Trustee in good faith advised Greyson of all the evidence supporting the position

17 that all of the accounts remained subject to the Preliminary Injunction, as detailed herein. [Freedman

18 Decl. at ¶¶ 9-12, Exh. I.] Trustee’s efforts to address these concerns, however, fell on deaf ears.

19        Instead, Greyson doubled down with its vitriol and ad hominem attacks directed at Mr. Celentino,

20 Mr. Ghio, Mr. Freedman and Mr. Serrano. While Greyson did provide Han’s credit card statement,

21 Greyson refused to provide evidence that the statement was not paid for with LPG, from BAT’s Chase

22 account to which she was a signatory, Vulcan, PrimeLogix or any other account funded with LPG

23 money. Notwithstanding, the accounts Greyson seeks control over contained LPG assets, proprietary

24 information and were comingled with LPG attorneys, emails and other information. [BL Decl. at ¶ 12;

25 AR Decl. at ¶ 12.] To date, Greyson has failed to address this critical issue which not only supports the

26 imposition of the Preliminary Injunction but the continuation of same without any carve outs and

27 instruction that Greyson is not to access any account through back door pathways or any other login

28 credential otherwise unknown to Trustee at this time.

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                 Desc
                                Main Document     Page 29 of 42


 1        Despite multiple requests going back as far as July 2023, Greyson has further failed to provide the

 2 serial numbers or any reliable means for the Trustee to identify what laptops, computers and/or Beelink

 3 drive’s Greyson claims they paid for with their own funds. Notably, Greyson has provided charges for

 4 23 Beelink systems and one Intel Processor and yet have only, until recently, demanded the return of 50

 5 unidentified laptops. Greyson’s efforts to meet and confer on this issue were therefore misleading and

 6 vague at best. Thus information is necessary to: 1) identify the property; 2) source the funds for property

 7 Greyson claims it paid for by Han and Mr. Nguyen; and inspect the property for LPG proprietary

 8 information known to exist and that is currently stored on Greyson’s Microsoft accounts, as more

 9 thoroughly discussed above. Trustee’s position is further supported by Greyson’s admission that they

10 were provided all of their IT equipment when they moved into 400B [Adv. Dkt. Nos. 46 and 47 at 3:16-

11 19; Han Trinh Decl., Dkt. No. 47-2 at ¶ 10], and the declaration of Brad Lee who was present when the

12 computers laptops and other computer equipment was loaded onto a U-haul from LPG’s Tustin office

13 with Max Chou Eng Taing, Michael Vu, smf Reid Wood among others. [BL Decl. at ¶ 8, Exh. B- see

14 photographs of the U-haul.] -- noting that the best evidence indicates all such equipment traces to LPG

15 and/or funds appropriated from LPG.

16        With little doubt, Trustee and his counsel made every reasonable effort to reason with Greyson

17 and its counsel, present the evidence that supports the Preliminary Injunction that Greyson agreed to.

18 Indeed, all of Greyson’s vitriol and ad hominem attacks do not address the issues raised by its motion

19 as evidenced by Greyson copying of its threatening emails herein. To be sure, the sole issue is whether

20 the evidence supports and continues to support the imposition of the stipulated Preliminary Injunction

21 as against Greyson. In this regard the plethora of evidence requires that the preliminary injunction

22 continue; indeed, in light of the recent evidence submitted by the Trustee -- with a dearth of competing

23 competent evidence from Greyson -- Trustee believes that the Preliminary Injunction should be modified

24 to remove certain language allowing for Greyson to do business on its own, especially now that the

25 evidence supports Diab’s direct involvement controlling Greyson which has improperly obtained LPG

26 assets, funds, proprietary documents and information and attorney network. All of which Greyson

27 appears to demand back in order to continue to unfairly compete and continue with engaging in Diab’s

28 fraudulent scheme by soliciting prior LPG clients and re-construct LPG with former LPG clients who

                                                        25
  Case 8:23-ap-01046-SC          Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                                 Main Document     Page 30 of 42


 1 are “performing” under their contracts (all of which have been sold to MLG pursuant to Court order).

 2 [BL Decl. at ¶ 5-12.] A reality which Greyson has already admitted to doing as evidenced by the

 3 declarations of prior LPG clients filed by Greyson in opposition to the Preliminary Injunction should

 4 this Court entertain their frivolous motion. [Adv. Dkt Nos. 47-3, 47-4, 47-5, 47-6, 47-7.]

 5 III. GREYSON POSITION THAT GREYSON IS ENTITLED TO HAVE THIS COURT
        ORDER THE CELENTINO FIRM (DINSMORE & SHOHL LLP) TO DO THE
 6      FOLLOWING 5 THINGS IMMEDIATELY:
 7        (1)    ITEM ONE: Immediately Return to Greyson, Greyson’s 50 Computers Seized By
 8               Celentino Firm at Greyson’s Offices on 6/2/23, which Computers had been Purchased
                 by Han Trinh, and by Greyson’s IT Director Justin Nguyen, with Their Personal
 9               Funds, and Which Celentino Firm Had And Has No Evidence Were Purchased By
                 LPG, or Phoenix, or by Any Other Alter Ego of LPG.
10

11        The evidence is Han Trinh’s Declaration hereto, attaching credit card bills that she paid with her

12 personal funds, for some of the 50 computers, In addition, evidence is Declaration hereto of Greyson’s

13 IT director Vincent Nguyen, attesting that Justin paid, with his personal credit card for some of the

14 approximately 50 Greyson computers (includes beelinks) that attorney Serrano (and Celentino firm field

15 agents) seized at Greyson on 6/2/23, and have never returned to Greyson. Han and Justin Declarations

16 attest that NONE of the 50 Greyson computers (includes beelinks) seized on 6/2/23 at Greyson’s offices

17 had been purchased by LPG, of Phoenix, or any other “alter ego” of LPG. Celentino firm will have no

18 evidence that the 50 Greyson computers seized on 6/2/23 were purchased by LPG, or by Phoenix, or by

19 any other alter ego of LPG.

20        THE TRUSTEE’S POSITION ON ITEM ONE IS:

21        The evidence supports the continued imposition of the Preliminary Injunction as to the alleged 50

22 computers (there are fewer), initially identified as laptops by Greyson in its bad faith meet and confer

23 demands, that Greyson boldly claims they own. Greyson refuses to provide the Trustee with further

24 information that show: 1) Han and Nguyen credit cards were not paid with LPG funds, directly from

25 BAT, Vulcan, PrimeLogix, Diab or other source of LPG funds; and 2) identification or serial numbers

26 for the equipment to review the computers in Trustee’s control to see if they match, and to investigate

27 same for LPG data. Trustee will continue to cooperate and potentially separate LPG computers from

28 Greyson computers if Greyson can prove a distinction exists; but it is Greyson’s burden to prove new

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                 Desc
                                Main Document     Page 31 of 42


 1 facts to support its requested relief, it is not Trustee’s burden to disprove bold naked assertions or

 2 Greyson’s prior judicial admissions.

 3        The evidence discussed more thoroughly above shows that Greyson intentionally stole LPG’s

 4 proprietary documents and information, including its attorney network, training materials, scripts,

 5 employee handbook, legal services agreement, among other trade secrets which could easily be stored

 6 and backed up on any one of the alleged 50 computers Greyson demands Trustee return. The computers

 7 may also contain backdoor access to LPG accounts, client files, ACH data, documents and information

 8 stored on LPG accounts, proprietary software or copies elsewhere. As such, identification of the

 9 computers, even if Greyson’s, is necessary to inspect those computers in order to ensure such

10 information is not turned over to Greyson, who admits their intent is to directly compete for prior clients

11 of LPG as they have already done and submitted declaration from such client to this Court.

12        As a secondary matter, Greyson must provide proof that each of the computers it demands the

13 return of were not provided by LPG or ultimately paid for with LPG assets. Greyson’s admissions and

14 the evidence obtained by the Trustee show that Greyson was either provided all of the computers and

15 “IT equipment” by LPG and/or paid for directly or via reimbursement with LPG assets. [Adv. Dkt. Nos.

16 46 and 47 at 3:16-19; Hanh Trinh Decl., Dkt. No. 47-2 at ¶ 10; BL Decl. at ¶ 8.] The evidence submitted

17 by Greyson and Nguyen fail to provide any reliable evidence to the contrary. Greyson has not shown

18 that the statement for the 23 Beelink desktop drives and one Intel Processor are the same computers they

19 now demand be returned and not some other client of H3 Computer Services. Further, the statement

20 provided by Nguyen is not tied to his “personal credit card” but rather H3 Computer Services and Sheri

21 Chen who was a prior book keeper of LPG. [BL Decl. at ¶ 18.] As such, the evidence and Mr. Nguyen’s

22 declaration do not show that Ms. Chen and/or H3 Computer Services were not reimbursed with LPG

23 assets appropriated for the purchase of the 23 Beelink drives and Intel Processor.

24        Serious questions remain and the evidence supports the equipment contains and/or provides access

25 to LPG proprietary information, client files, ACH data and trade secrets which the Preliminary

26 Injunction is intended to prevent. As such, the Preliminary Injunction as to Greyson’s computer

27 equipment must remain in place to prevent irreparable harm and Diab’s continued scheme given his

28 involvement in Greyson. Absent clear and unquestionable evidence the Trustee and this Court should

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                                Main Document     Page 32 of 42


 1 not countenance turnover of LPG assets to Greyson

 2        (2)    ITEM TWO: Immediately Return To Greyson, Greyson’s Microsoft Account Data
                 and Documents, Including the One Drive Cloud Backup to Greyson’s Microsoft
 3               Account, which Greyson Microsoft Account Han Trinh had Paid For Monthly With
                 Han’s Personal Credit Card
 4

 5        The evidence is Kathleen P. March, Esq. declaration hereto, that neither Dkt. 13, the 5/26/23
 6 Lockout and preliminary injunction order, not Dkt. 70, which continued the 5/26/23 Lockout and

 7 preliminary injunction order in effect, authorized Celentino firm to seize, and lock Greyson out of

 8 Greyson’s Microsoft account, except for allowing Celentino firm to seize a tiny portion of that account,

 9 the Microsoft Sharepoint Feature in Greyson’s Mircrosoft account.

10        Further evidence is Han Trinh’s Declaration hereto, attaching credit card bills on Han’s personal
11 account showing Han paid the monthly fee to Microsoft, approximately $2,300 a month, for Greyson’s

12 Microsoft account, with Han’s personal credit card, before Celentino firm locked Greyson out of

13 Greyson’s Microsoft account on 6/2/23.       An email between Celentino and Han, which Han took a
14 “screen print” of, on her cell phone, before attorney Serrano of Celentino firm (via Celentino), demanded

15 and got Han to give Serrano the passcodes to get into the Greyson Microsoft account, shows Celentino

16 was directly involved in having Han instruct Greyson’s IT director Justin Nyugen, to allow Celentino

17 firm attorney Serrano to access, and immediately lock Greyson out of all of Greyson’s Microsoft

18 account on 6/2/23—a lockout which has continued until present.

19        Declaration of Kathleen P. March hereto attests that neither [Dkt. 13, the 5/26/23 lockout and
20 preliminary injunction order, nor Dkt. 70, the 6/23/23 order that continued the 5/26/23 [Dkt. 13] order

21 in effect, authorized Celentino firm to seize, or to lock Greyson out of Greyson’s Mircrosoft account,

22 except that maybe (wording not clear) see p.8, paragraph 1 of Dkt. 13 order) Celentino firm was allowed

23 to seize 1 small part of Greyson’s Mircosoft account, the Microsoft Sharepoint section of Greyson’s

24 Mircrosoft account, where Greyson stored Greyson’s protocols for doing business. Han Trinh’s

25 Declaration explains that the Mircosoft Sharepoint section of Greyson’s Microsoft account is only a

26 small portion of Greyson’s Microsoft account, in which Greyson stores Greyson’s protocols for doing

27 business.

28 ///

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                                Main Document     Page 33 of 42


 1        CONTINUANCE IS NEEDED AND IS REQUESTED BY GREYSON: Greyson requests this

 2 Court continue Greyson’s Reply date, on Greyson’s Motion for Administrative Claim, to 7 days after

 3 Celentino firm returns Greyson’s Microsoft data and documents to Greyson; and continue the 1/19/24

 4 hearing date on Greyson’s Motion for Administrative Claim.

 5        If the Celentino firm failed to preserve Greyson’s Microsoft data, after Serrano locked Greyson

 6 out of accessing Greyson’s Microsoft data, on 6/2/23, so only the Celentino firm had access to Greyson’s

 7 data, that would be spoliation of Greyson’s evidence, which is sanctionable misconduct by the

 8 Celentino firm, and is a tort.

 9        Celentino firm committing spoliation of Greyson’s evidence should be held by this Hon.

10 Bankruptcy court to bar Trustee Marshack from opposing Greyson’s Motion for Administrative

11 Claim [dkt….., filed …..], set for hearing on 1/19/24 at 1:30 p.m. Trustee’s Opposition is due on 1/5/24,

12 and Greyson’s Reply to any Opposition is due on 1/12/24. If Greyson does not have Greyson’s

13 Microsoft account documents and data back, by the time Trustee files any Opposition to Greyson’s

14 Motion for Allowance and Payment of Administrative Claim, then Greyson requests this Court to

15 continue the due date for Greyson’s Reply, to a date 7 days after Celentino firm returns Greyson’s

16 Microsoft data and documents to Greyson, with a corresponding continuance of the 1/19/24 hearing date

17 on Greyson’s Motion for Administrative Claim. If Celentino firm has failed to preserve Greyson’s

18 Mircrosoft data and documents, after seizing Greyson’s Microsoft account on 6/2/23 and locking

19 Greyson out of that account (from 6/2/23 to present) that is spoliation of Greyson’s data and documents

20 by Celentino firm, and should be held by this Court to preclude Trustee Marshack from opposing

21 Greyson’s Motion for Administrative Claim, as a sanction for spoliation of Greyson’s data, by

22 Trustee’s attorneys, the Celentino firm.

23        Please NOTE: Greyson needs the Microsoft word documents, and pdf documents, including

24 contracts and invoices that were stored in Greyson’s Microsoft account, on Greyson’s computers, and

25 were additionally stored in the OneDrive cloud backup that was part of Greyson’s Microsoft account, to

26        CONTINUANCE IS NEEDED AND IS REQUESTED BY GREYSON: Greyson requests this

27 Court continue Greyson’s Reply date, on Greyson’s Motion for Administrative Claim, to 7 days after

28 Celentino firm returns Greyson’s Microsoft data and documents to Greyson; and continue the 1/19/24

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                Main Document     Page 34 of 42


 1 hearing date on Greyson’s Motion for Administrative Claim.

 2        If the Celentino firm failed to preserve Greyson’s Microsoft data, after Serrano locked Greyson

 3 out of accessing Greyson’s Microsoft data, on 6/2/23, so only the Celentino firm had access to Greyson’s

 4 data, that would be spoliation of Greyson’s evidence, which is sanctionable misconduct by the

 5 Celentino firm, and is a tort.

 6        Celentino firm committing spoliation of Greyson’s evidence should be held by this Hon.

 7 Bankruptcy court to bar Trustee Marshack from opposing Greyson’s Motion for Administrative

 8 Claim [Dkt. 676, filed 11/17/23], set for hearing on 1/19/24 at …….. . Trustee’s Opposition is due on

 9 1/5/24, and Greyson’s Reply to any Opposition is due on 1/12/24. If Greyson does not have Greyson’s

10 Microsoft account documents and data back, by the time Trustee files any Opposition to Greyson’s

11 Motion for Allowance and Payment of Administrative Claim, then Greyson requests this Court to

12 continue the due date for Greyson’s Reply, to a date 7 days after Celentino firm returns Greyson’s

13 Microsoft data and documents to Greyson, with a corresponding continuance of the 1/19/24 hearing date

14 on Greyson’s Motion for Administrative Claim. If Celentino firm has failed to preserve Greyson’s

15 Mircrosoft data and documents, after seizing Greyson’s Microsoft account on 6/2/23 and locking

16 Greyson out of that account (from 6/2/23 to present) that is spoliation of Greyson’s data and documents

17 by Celentino firm, and should be held by this Court to preclude Trustee Marshack from opposing

18 Greyson’s Motion for Administrative Claim, as a sanction for spoliation of Greyson’s data, by

19 Trustee’s attorneys, the Celentino firm.

20        THE TRUSTEE’S POSITION ON ITEM TWO IS:

21        Greyson’s requested continuance is not properly raised in its frivolous motion. No notice of the

22 requested continuance or argument was made in its moving papers. Greyson did not meet and confer or

23 discuss the requested continuance and therefore raises it for the first time in bad faith and is therefore

24 properly disregarded by the Court.

25        Notwithstanding, the Trustee and counsel did advise Greyson that none of their accounts have been

26 modified, altered or deleted by the Trustee or anyone acting on his behalf with the exception of changing

27 the login credentials and settings in order block access. [AR Decl. at ¶ 1; Freedman Decl. at ¶ 2; Serrano

28 Decl. at ¶ 6; Ghio Decl. at ¶ 2; Celentino Decl. at ¶ 2.] The accounts have been paid by the Trustee

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                                Main Document     Page 35 of 42


 1 and/or his counsel. [Id.]

 2        Based on the foregoing and the plethora of evidence against Greyson discussed herein, any

 3 administrative claim by Greyson would amount to funding Diab and his accomplices for their theft of

 4 LPG assets. As such, Greyson Motion should be denied on the merits alone. That said, the Trustee has

 5 filed his Omnibus Motion for Order that (1) Initial Hearings be Status Conference; and (2) To Continue

 6 the Hearings on the Merits of Motion for Allowance of Administrative Claims [Bank. Dkt. No. 816],

 7 including Greyson’s meritless motion for allowance of an administrative claims [Bank. Dkt. No. 676.]

 8 The Court has not ruled on Trustee’s Motion as of the filing of this joint statement.

 9        (3)    ITEM THREE: Celentino Firm, By Celentino, Should Be Ordered To Answer
                 Under Penalty Of Perjury Whether Celentino Firm Still Has Greyson’s Microsoft
10               Account Data, or Whether Celentino Firm destroyed--Or Allowed To Be Destroyed-
                 -Greyson’s Microsoft Account Data, after Attorney Serrano Of Celentino Firm
11               Locked Greyson Out Of Accessing Greyson’s Microsoft Account On 6/2/23 (and Soon
12               As Nguyen Got Serrano Into That Account On 6/2/23), Despite Greyson’s It Director,
                 Justin Nguyen, Warning Serrano Of Celentino Firm, Who Locked Greyson Out Of
13               Accessing Greyson’s Microsoft Account, That Celentino Firm Would Have To Take
                 Over Paying The Monthly Fees On That Greyson Microsoft Account, Because
14               Greyson, Once Locked Out, Could No Longer Do So;
15        Evidence is March Decl, that in the meet and confer March asked Celentino, Ghio and Freedman

16 to answer whether or not the Celentino firm still had Greyson’s Microsoft account data, but they did not

17 answer. Instead Celentino (falsely) denied Greyson had a Microsoft account, and falsely denied that

18 Celentino firm had seized Greyson’s Microsoft account on 6/2/23 and had locked Greyson out of

19 accessing Greyson’s Microsoft account from 6/2/23 to present.

20        Evidence is Han Trinh’s Declaration, that Han took a screen shot, on Han’s cell phone, of an email

21 between Celentino and Han, on 6/2/23, , before Serrano locked Greyson out of Greyson’s Microsoft

22 account, and that email proves Celentino was directly involved in demanding that Greyson give

23 Celentino’s firm (Celentino firm’s attorney, Serrano, who was doing the lockout of Greyson on 6/2/23)

24 access codes to get into Greyson’s Microsoft account, and Han instructed Greyson’s IT director, Justin

25 Nguyen, to let Serrano into Greyson’s Microsoft account, and Serrano immediately locked Greyson out

26 of accessing Greyson’s Microsoft account, and Greyson has remained locked out of Greyson’s Microsoft

27 account, including locked out of Greyson’s Microsoft, One Drive cloud backup from 6/2/23 to present.

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40               Desc
                                Main Document     Page 36 of 42


 1        The Declaration of Greyson’s IT Director, Justin Nguyen, attests to letting Serrano into the

 2 Greyson Microsoft account on 6/2/23, and that after Serrano locked Greyson out of accessing Greyson’s

 3 Microsoft account, attests that Justin warned Serrano that Serrano’s firm would have to take over paying

 4 the monthly fees on Greyson’s Microsoft account, because Greyson, being locked out of accessing

 5 Greyson’s Microsoft account, would no longer be able to pay the monthly fees on Greyson’s Microsoft

 6 account, and Serrano told Nguyen that Serrano understood, and would tell his law firm this information.

 7        March’s repeated emails to Celentino firm (attached as Exhibit A to March Decl hereto) continued

 8 to request Celentino firm to answer, does Celentino firm still have Greyson’s Microsoft account data, of

 9 did they destroy, or allow to be destroyed, Greyson’s Microsoft account data. Celentino and his firm

10 have NOT answered. This is stonewalling by Celentino firm, which is sanctionable misconduct.

11        THE TRUSTEE’S POSITION ON ITEM THREE IS:

12        As previously indicated to counsel for Greyson and as stated above, neither the Trustee nor any of

13 his agents or attorneys have altered modified or deleted any of Greyson’s accounts other than to change

14 the login credentials and setting to block access. [AR Decl. at ¶ 1; Serrano Decl. at ¶ 6; Freedman Decl.

15 at ¶ 2; Ghio Decl. at ¶ 2; Celentino Decl. at ¶ 2.] Similarly, all of Greyson’s known accounts have been

16 paid for. [Id.] Trustee may seek Court authority in the future for further handling of such accounts.

17        (4)    ITEM FOUR:         Immediately Return to Greyson Greyson’s Domain and
                 Website www.greysonlawpc.com on Godaddy.com, Which Was Paid for by
18               Greyson’s IT Director Nguyen from by His Personal Credit Card
19        March Declaration attests the 5/26/23 Order does not authorize Celentino firm to seize, or to lock

20 Greyson out of, Greyson’s domain/website.

21        Evidence is Greyson IT director Justin Nguyen’s Declaration hereto that Justin paid for that

22 domain www.greysonlawpc.com on his personal credit card. Plus March Declaration attests that nothing

23 in the 5/26/23 Order (continued in effect by the 6/23/23 Order authorized Celentino firm to seize, and

24 lock Greyson out of Greyson’s domain/website. Han Trinh’s Declaration attests that Celentino told Han

25 that Greyson would have to buy back Greyson’s domain from Celentino firm, to get it back.

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                 Desc
                                Main Document     Page 37 of 42


 1        THE TRUSTEE’S POSITION ON ITEM FOUR IS:

 2        As an initial matter, it should be noted that Greyson only recently provided a credit card statement

 3 for the charges related to its website domain hosting in an effort to show it was not paid for with LPG

 4 funds, which it still has failed to do. Contrary to Nguyen’s declaration under oath, his own evidence

 5 makes it clear the credit card was not a “personal credit card” but rather an account held in the name of

 6 Sherri Chen and H3 Computer Services. Justin Nguyen only being an authorized card holder and clearly

 7 not a personal credit card. Moreover, neither Exhibit A or B to Nguyen’s declaration show any charges

 8 for Godaddy domains.

 9        Since May 26, 2023 to the present, Greyson has failed to show the website was not copied from

10 LPG’s website source code or LPG data and only changed the name and minor information and design

11 concepts. Also, there is no evidence H3 Computer Services or Sheri Chen were not reimbursed for the

12 domain hosting expenses from LPG funds, nor is there evidence who paid for Sheri Chen and H3

13 Computer Services Credit cards. Moreover, it would appear out of the ordinary that an ordinary

14 employee would not seek reimbursement for such business expenses.

15        Notwithstanding and subject to Court approval, the Trustee will agree to stipulate to relinquish

16 control over Greyson’s former website as being inconsequential at this time subject to further and

17 immediate turnover in the event it is discovered the website and/or domain contains hidden gateways,

18 paths or logins providing access to other restricted accounts, CRMs, or cloud storage facilities or other

19 LPG proprietary information, documents, client information and ACH information that remain subject

20 to the Court’s Preliminary Injunction. Trustee further requests that this Court order Greyson to advise

21 the Trustee should it decide to change the domain, hosting or other credentials necessary for Trustee to

22 monitor for unauthorized conduct.

23        (5)    ITEM FIVE: Immediately Return to Greyson Greyson’s 100+ Email Accounts
                 Which Celentino Firm Locked Greyson Out of Accessing
24

25        From June 2023 to present, the Celentino firm seized, and has kept Greyson locked out of accessing

26 Greyson’s over 100 email accounts. (Han Trinh Decl hereto, Justin Nguyen Decl hereto).

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  Case 8:23-ap-01046-SC         Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                                Main Document     Page 38 of 42


 1        When Han asked Celentino to allow Greyson to access just 4 of those 100 accounts, Celentino

 2 refused, saying Greyson would have to buy back Greyson’s email accounts from Celentino, and only

 3 when Celentino was ready to sell Greyson’s email accounts back to Greyson.. (Han Declaration).

 4 Without its emails, Greyson could not communicate with Greyson’s clients, or with Greyson’s attorneys.

 5 (Han Decl) The effect of Celentino seizing, and locking Greyson out of, all of Greyson’s email accounts,

 6 was to make it impossible for Greyson to carry on Greyson’s business effectively, even though Greyson

 7 had a legal right to compete with LPG and LPG’s alter egos (including Phoenix, which Celentino was

 8 running), and had a legal right to compete with buyer Morning Law, for business. (Han Decl). The

 9 effect of the 5/26/23 [Dkt. 13] lockout and preliminary injunction order (and the 6/23/23 order that

10 continued the Dkt. 13 order in effect until this Court orders otherwise, was unfair competition against

11 Greyson, in favor of LPG and its alter egos, and in favor of Morning Law, the buyer of LPG’s business.

12 (Han Decl) It is unlikely that this Court would have issued the 5/26/23 [Dkt. 13] order as to Greyson,

13 but for the false allegation that Greyson was an alter ego of LPG, made by the Celentino firm, in the

14 Celentino firm’s sealed motion for the 5/26/23 order, heard and granted without notice to Greyson. (Han

15 Decl). March’s Decl to Greyson Motion in Chief [Dkt 290, in adversary proceeding, filed 12/6/23, and

16 Dkt 749. in main case, filed 12/6/23] attests that the extremely onerous lockout of preliminary injunction

17 order granted on 5/26/23 is not available for a fraudulent transfer adversary proceeding, which is all the

18 present Celentino complaint alleges against Greyson).

19        CELENTINO FIRM POSITION ON ITEM FIVE IS:

20        Greyson’s Microsoft Account, including emails, OneDrive, Teams, Sharepoint and Viva

21 (collectively referred to herein as Greyson’s “Microsoft account”) were all paid for with LPG funds,

22 have been co-mingled with Phoenix, LPG and CLG accounts and attorneys, and contain LPG proprietary

23 information, training materials, scripts, client information, ACH information, LPG’s attorney network

24 contact information among other LPG trade secrets as discussed above. As such, the Preliminary

25 Injunction as to Greyson’s Microsoft account was necessary in the first instance and as discussed herein

26 should be continued to prevent further fraudulent transfers, misappropriation and theft of LPG assets.

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  Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                               Main Document     Page 39 of 42


 1        Notably, Greyson relies on the credit card statement provided by Han purporting to show she paid

 2 for the Microsoft account out of personal funds. Han, however, as CEO, CFO and primary signatory on

 3 BAT’s Chase account reasonably had access to and most likely paid her credit card using BATs account,

 4 if not from other sources of LPG funds such as Maverick who held accounts at Wells Fargo. This would

 5 be consistent with Han’s use of the BAT account in May 2023 to pay of the other Greyson expenses and

 6 payroll and refusal to show the source of payment for her credit card. As such, the credit card statement

 7 without showing proof of which account paid the statement provides no reliable evidence that Greyson’s

 8 Microsoft Account was not paid for with LPG assets.

 9        Moreover, the evidence attached to the declarations of Alex Rubin and Brad Lee show that

10 Greyson’s email account was co-mingled with LPG emails and LPG attorneys; Phoenix and its business

11 operations and clients; and CLG and its attorneys and clients triggering the turnover and lockout orders

12 of the Preliminary Injunction. Moreover, Greyson’s Microsoft account, including emails contain LPG

13 proprietary information, trade secrets and documents necessary to revive LPG from the ashes and solicit

14 former LPG clients without which would not be possible. Based on the evidence submitted by Trustee,

15 Greyson’s Microsoft account is properly the subject of the Preliminary Injunction which should be

16 continued and modified as discussed above in order to prevent the turnover of LPG proprietary

17 information and assets needed to unfairly compete and solicit former LPG clients.

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 Case 8:23-ap-01046-SC        Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                Desc
                              Main Document     Page 40 of 42


 1       It should be noted that Trustee’s investigation continues and further bank account subpoenas will

 2 be forthcoming.    Trustee reserves and preserves the right to submit same to the Court as the

 3 circumstances arise.

 4       This JOINT STATEMENT is dated and filed on January 8, 2024, by

 5
                                                      The Bankruptcy Law Firm, PC
 6

 7
                                                      By:/s/ Kathleen P. March
 8                                                       Kathleen P. March, Esq., counsel
                                                         for Movant Greyson Law Center PC
 9
                                                            And by
10

11                                                    Dinsmore & Shohl LLP

12
                                                      By:
13                                                          Christopher Celentino
                                                            Christopher B. Ghio
14
                                                            Jeremy B. Freedman
15                                                          Special Counsel to Richard A. Marshack
                                                            Chapter 11 Trustee for the Bankruptcy Estate of
16                                                          The Litigation Practice Group PC

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        Case 8:23-ap-01046-SC                     Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                                      Desc
                                                  Main Document     Page 41 of 42



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064
A true and correct copy of the foregoing document entitled (specify):

      JOINT STATEMENT OF MOVANT GREYSON LAW CENTER PC, AND OF RESPONDENT TRUSTEE,
RICHARD A. MARSHACK, OF ISSUES FOR THIS COURT TO DECIDE RELATING TO GREYSON’S MOTION TO
VACATE‐‐AS TO GREYSON‐‐ THIS COURT’S 5/26/23 LOCKOUT AND PRELIMINARY INJUNCTION [DKT. 13] AND
THE 6/23/23 ORDER [DKT. 70] WHICH CONTINUED DKT. 13 IN EFFECT UNTIL THIS COURT RULES OTHERWISE;
      WITH DECLARATIONS TO SUPPORT GREYSON’S PORTION OF JOINT STATEMENT FROM:
             JUSTIN NGUYEN, HAN TRINH, AND KATHLEEN MARCH, ESQ. WITH EXHIBITS; AND
      WITH DECLARATIONS TO SUPPORT TRUSTEE’S PORTION OF JOINT STATEMENT FROM:
             ALEX RUBIN, BRAD LEE, CHRISTOPHER CELENTINO, CHRISTOPHER GHIO, JEREMY FREEDMAN,
             AND JONATHAN SERRANO.
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
___1/8/24___, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See next page
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ___1/8/24___, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

n/a                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___1/8/24___, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Scott Clarkson
411 West Fourth Street, Suite 5130
Santa Ana, CA 92701-4593
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/8/24                      Kathleen P. March                                                  /s/ Kathleen P. March
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-ap-01046-SC                     Doc 325 Filed 01/08/24 Entered 01/08/24 18:22:40                                      Desc
                                                  Main Document     Page 42 of 42


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

       Keith Barnett keith.barnett@troutman.com, kelley.wade@troutman.com
       Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
       Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
       Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
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        nicolette.murphy@dinsmore.com;angelica.urena@dinsmore.com;deamira.romo@dinsmore.com
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       Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
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       Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
       David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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